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DENVER HEALTH                                                    POLICY:
Department of Correctional Care                                  NCCHC J-A-01
                                                                 Essential:
DENVER SHERIFF DEPARTMENT FACILITIES                             ACA 4-ALDF-4C-01,02
                                                                 Non-Mandatory
                                                                 Obsoletes:
                                                                 Prior Jail Medical Policies
                                                                 Effective Date: 1-1-22
STANDARD POLICY AND PROCEDURES
                                                                 Review Date: 1-1-23

                  Access To Care                                 Number of pages: 1



Rationale:         Key to the provision of health care is a patient’s ability to access care in a
                   timely manner as dictated by the acuity of the health concern.

Policy:            Patients have timely access to health services providers to meet their
                   serious medical, dental and behavioral health needs regardless of ability
                   to pay. Once evaluated by a qualified health care professional, ordered
                   care shall be provided. The Responsible Health Authority identifies and
                   eliminates unreasonable barriers intentional or unintentional to patients
                   receiving health care.

Responsibility:    Health Authority (Denver Health, Designated Unit Health Authority,
                   Responsible Physician, Nurse Manager, and Behavioral Health Director)
                   Denver Sheriff Health Services (CQI) Continuous Quality Improvement
                   Committee

Procedure:         The Health Authority, Responsible Physician, Nurse Manager, Behavioral
                   Health Director and the CQI committee will assure that patients have
                   equal access to care and that there are not barriers to patients receiving
                   care. Allegations that access to care have been denied will be reviewed.

                   Patients are advised via the inmate handbook of co-pays related to health
                   services.




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DENVER HEALTH                                                 POLICY:
Department of Correctional Care                               NCCHC J-A-02
                                                              Essential
DENVER SHERIFF DEPARTMENT FACILITIES                          ACA 4-ALDF-4D-01
                                                              Mandatory
                                                              ACA 4-ALDF-4C-28
                                                              Non-Mandatory
                                                              Obsoletes:
                                                              Prior Jail Medical Policies
                                                              Effective Date: 01-1-22
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                                                              Review Date: 01-1-23

          Responsible Health Authority                        Number of pages: 1

Rationale:        The Health Services Delivery System assures patients have access to
                  quality health care. Designating a single individual responsible for
                  oversight improves accountability for the quality of services. A physician
                  must supervise medical judgments to assure that health decisions are
                  appropriate.

Policy:           By virtue of a contract between the City and County of Denver and
                  Denver Health (DH), Denver Health is responsible for the provision of
                  health services for the patients incarcerated in the Denver Sheriff
                  Department facilities. The DH Chief Operating Officer (COO) will
                  designate an individual as the Health Authority to arrange and provide
                  oversight for these services. If that individual is not a physician, the COO
                  will designate a physician as the Responsible Physician.

Responsibility:   Denver Health and the DH Chief Operating Officer

Procedure:        The DH Chief Operating Officer will designate a person as the
                  Responsible Health Authority (RHA).             That individual will be
                  responsible for the oversight of health services at the Denver Sheriff
                  Department facilities. The RHA arranges for all levels of health care and
                  assures quality, accessible and timely health services for patients. The
                  RHA responsibilities are documented via job description and the RHA is
                  on site at least weekly. The Health Authority will establish a mission
                  statement in conjunction with the leadership team.

                  If the designated Health Authority is not a physician, the COO will
                  designate a physician assigned to the Denver Sheriff Department as
                  Responsible Physician. The Responsible Physician will be responsible
                  for oversight of clinical decisions and final clinical judgment. The
                  responsible physician and behavioral health director are on site enough to
                  fulfill the position’s clinical and administrative responsibilities.

                  There is an organizational structure for behavioral health services and a
                  behavioral health director is designated by DH.

                  **See J-A-2-#2 Addendum with designated Health Authority, Responsible
                  Physician, and Behavioral Health Clinician.




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DENVER HEALTH                                                   POLICY:
Department of Correctional Care                                 NCCHC J-A-03
                                                                Essential
DENVER SHERIFF DEPARTMENT FACILITIES                            ACA 4-ALDF-4D-02
                                                                Mandatory
                                                                Obsoletes:
                                                                Prior Jail Medical Policies

                                                                Effective Date: 1-1-22
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                                                                Review Date: 1-1-23

                  Medical Autonomy                              Number of pages: 1


Rationale:         The delivery of health services in a correctional environment is dependent
                   upon mutual cooperation between Health Services and Security. Each
                   group must recognize the respective responsibilities of the other in order
                   to provide quality health care safely in this environment.

Policy:            Clinical decisions are the sole responsibility of qualified health care
                   professionals. If there is a security risk with an individual, health services
                   and security staff will confer and determine a means to provide needed
                   care in a manner that protects the safety of both the staff, patients and
                   the general public. Administrative decisions are coordinated, if necessary,
                   with clinical needs so that patient care is not jeopardized.

                   It is also expected that Health Services staff will comply with the security
                   regulations for the Denver Sheriff Department and custody staff support
                   the implementation of clinical decisions.

Responsibility:    Denver Sheriff Department
                   Denver Health

Procedure:         Health Services staff will determine the health needs of patients in the
                   custody of the Denver Sheriff Department. If there is a security concern
                   (i.e. an escape risk for transport), the security personnel will bring this to
                   the attention of health services personnel. The Health Authority or
                   designee will confer with a supervisor from the Denver Sheriff Department
                   to assure needed care is provided.

                   If Health Services personnel feel that security personnel are interfering
                   with needed health care, this will be reported to the Health Authority or
                   designee who will meet with security supervision to resolve this problem.
                   If at any time security staff feel that Health Services personnel are
                   compromising security procedures, they will report this to security
                   supervision, which will confer with the Health Authority or designee to
                   resolve this situation. Situations that cannot be resolved in the above
                   manner may be referred to the (CQI) Continuous Quality Improvement
                   Committee.




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DENVER HEALTH                                                  POLICY:
Department of Correctional Care                                NCCHC J-A-05
                                                               Essential
DENVER SHERIFF DEPARTMENT FACILITIES
                                                               ACA 4-ALDF-7D-06,07
                                                               ACA 4-ALDF-7D-08,09
                                                               Non-Mandatory
                                                               Obsoletes:
                                                               Prior Jail Medical Policies

                                                               Effective Date: 1-1-22
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             Policies and Procedures                           Number of pages: 2


Rationale:        A Manual of Health Care Policies and Procedures serves as a
                  reference tool for Health Services staff and addresses each applicable
                  standard in the Standards for Health Services in Jails. It is also an
                  orientation tool so new staff understands their responsibilities. A policy is
                  the official position on a particular issue and a procedure describes how
                  the policy is implemented.

Policy:           A Manual of Health Care Policies and Procedures will be site specific
                  and/or available via computer in the medical units of the Denver
                  Detention Center ( DDC) and the Denver County Jail (DCJ). The Health
                  Authority and the Responsible Physician will develop this manual, which
                  will cover, at a minimum, the National Commission of Correctional Health
                  Care (NCCHC) and the American Correctional Association (ACA)
                  standards

Responsibility:   Health Authority
                  Responsible Physician

Procedure:        Health Authority and Responsible Physician will develop the Policy and
                  Procedure Manual. Employees may participate in the formulation of the
                  Policies and Procedures when applicable.
                  The Policy and Procedure Manual is kept in an accessible location in
                  the medical units of the Denver Detention Center (DDC) and the Denver
                  County Jail (DCJ) and is available on the computer. It is expected staff
                  familiarize themselves with the contents of this manual and know its
                  location if needed for reference. New employees will review the manual
                  as part of their orientation. Health Services staff review policies and
                  procedures any time they are revised or new policies are introduced,
                  An Annual Review of the manual will occur by the health authority and
                  responsible physician. Any revisions are made under the direction of the
                  health authority. A signature sheet indicating that this has occurred will
                  be the first page of this manual.

                  Denver Sheriff Department personnel who are affected by a specific




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DENVER HEALTH                                                POLICY:
Department of Correctional Care                              NCCHC J-A-05
                                                             Essential
DENVER SHERIFF DEPARTMENT FACILITIES
                                                             ACA 4-ALDF-7D-06,07
                                                             ACA 4-ALDF-7D-08,09
                                                             Non-Mandatory
                                                             Obsoletes:
                                                             Prior Jail Medical Policies

                                                             Effective Date: 1-1-22
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                                                             Review Date: 1-1-23

           Policies and Procedures                           Number of pages: 2


                  policy may review specific policies (i.e. diet policy reviewed by the
                  Director of Food Services) to ensure other policies do not conflict with
                  health services polices.


                  Revisions to policies and procedures that occur at times other than the
                  annual review will have the effective date changed. Any changes will be
                  updated in the manual and computer by the administrative assistant. New
                  or revised revisions are disseminated to staff prior to implementation via
                  email and reviewed in staff meetings if necessary. The RHA and
                  Responsible Physician will date and sign individual policy and procedures
                  when changes occur outside the annual review.




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DENVER HEALTH                                                  POLICY:
Department of Correctional Care                                NCCHC J-A-09
                                                               Important
DENVER SHERIFF DEPARTMENT FACILITIES                           ACA 4-ALDF-4D-23
                                                               Non-Mandatory
                                                               ACA 4-ALDF-4D-24
                                                               Mandatory
                                                               Obsoletes:
                                                               Prior Jail Medical Policies

                                                               Effective Date: 1-1-22
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      Procedure in the Event of Death                          Number of pages: 2


Rationale:        In order to determine the appropriateness of clinical care, deaths are
                  reviewed. In addition, examination of similar events may reveal a pattern,
                  which may necessitate additional training or other interventions. The
                  responsible health authority (Responsible Physician) conducts a thorough
                  review of each death in custody in an effort to improve care and prevent
                  future deaths.

Policy:           The Designated Health Authority and Responsible Physician will do an
                  initial evaluation of the death. A clinical mortality will be conducted within
                  30 days of the death. A psychological autopsy will be conducted if the
                  death is by suicide within 30 days. An administrative review is conducted
                  in conjunction with custody staff. The Continuous Quality Improvement
                  (CQI) Committee may conduct additional analysis of the event and make
                  recommendations if necessary.

Responsibility:   Health Services
                  Denver Sheriff Department
                  Office of the Coroner of the City and County of Denver

Procedure:        In the event of patient death the following actions will occur:
                   Nursing staff will implement the mortality call down list. The mortality
                      call down list is available on the T drive and is to be completed with
                      facility deaths and/or life threatening events.
                   The Denver Sheriff Department supervisor will notify the Coroner’s
                      Office. In cases when the Coroner and the District Attorney deem it
                      advisable, a post mortem examination will be performed.
                   Behavioral Health services will be available to debrief patient and staff
                      as appropriate.
                   Health Services personnel present document the event in the patient’s
                      medical record.
                   Staff may be requested to complete a Denver Police Department
                      Statement. Staff should place their business address on the form.
                      The statement should be brief and factual. The statement should not




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DENVER HEALTH                                                    POLICY:
Department of Correctional Care                                  NCCHC J-A-09
                                                                 Important
DENVER SHERIFF DEPARTMENT FACILITIES                             ACA 4-ALDF-4D-23
                                                                 Non-Mandatory
                                                                 ACA 4-ALDF-4D-24
                                                                 Mandatory
                                                                 Obsoletes:
                                                                 Prior Jail Medical Policies

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      Procedure in the Event of Death                            Number of pages: 2


                         replicate the Problem Oriented Record (POR) but should contain only
                         Protected Health Information (PHI) necessary.
                        The Health Information Management (HIM) record will be secured and
                         a copy of the record will be sent to the Designated Health Authority
                         and others as appropriate.
                        The Responsible Physician will review the record, and call the
                         Coroner’s Office for preliminary autopsy results.
                        The Responsible Physician will organize a multi-disciplinary Mortality
                         Review Committee, which will convene within 30 days of the death.
                         The committee will consist of representatives from both Health
                         Services and the Sheriff Department. A physician reviewer from
                         outside the health services staff may be invited to participate. The
                         Behavioral Health team participates in the psychological autopsies.
                        The Responsible Physician will maintain a record of the date and time
                         of the meeting, persons present, analysis of the death, and
                         suggestions for improvement and recommendations for any other
                         actions that need to be taken.
                        All staff including treating staff is informed of the clinical mortality
                         review and administrative findings by the responsible physician or
                         designee at the All staff meetings.

      A mortality log is maintained by the Responsible Physician which includes:
                      a) Patient name or CD number
                      b) Age at time of death
                      c) Date of death
                      d) Date of clinical mortality review
                      e) Date of Administrate review
                      f) Cause of death ( hanging, respiratory failure etc)
                      g) Manner of death ( natural, suicide, homicide, accident etc)
                      h) Date pertinent findings of review shared with staff
                      i) Date of psychological autopsy, if applicable




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DENVER HEALTH                                                 POLICY:
Department of Correctional Care                               NCCHC J-A-10
                                                              Important
DENVER SHERIFF DEPARTMENT FACILITIES                          ACA 4-ALDF-6B-01
                                                              Non-Mandatory
                                                              Obsoletes:
                                                              Prior Jail Medical Policies
                                                              Effective Date: 1-1-22
STANDARD POLICY AND PROCEDURES                                Review Date: 1-1-23

    Grievance Process for Health Care                         Number of pages: 2
               Complaints
Rationale:        The grievance procedure provides patients an opportunity to express their
                  concerns and resolve problems. The facility protects a patient’s right to
                  disagree with or question the health care system.

Policy:           Patients will have the opportunity to grieve areas of concern with regard
                  to health services without fear of reprisal.   Health Services grievances
                  will be tracked noting types of complaints and their outcome. Action may
                  be taken if trends are noted.

Responsibility:   Health Authority or Responsible Physician (if different) or designee
                  Denver Sheriff

Procedure:        Patients are informed of the Grievance Procedure in the Inmate
                  Handbook.

                  Grievances are collected by several mechanisms. The patient may hand
                  the Grievance Form to his or her building officer or deposit it in boxes
                  located throughout the jail.

                  Health Services grievances are delivered via email to Health Services.
                  Upon arrival to Health Services, grievances are logged and scanned. The
                  grievances are then distributed to the Responsible Physician, Health
                  Services Administrator, Nurse Manager, Director of Correctional
                  Behavioral Healthcare, or designee for review.

                  The Responsible Physician or designee may review the chart, medication
                  records and may discuss the issue with the individual named if it is a
                  complaint about a particular staff member.

                  A written response is formulated within 30 days of receipt and based on
                  principals of adequate medical care. . The written response is sent to the
                  patient.

                  If the patient is not satisfied with the response they may send a second




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DENVER HEALTH                                                 POLICY:
Department of Correctional Care                               NCCHC J-A-10
                                                              Important
DENVER SHERIFF DEPARTMENT FACILITIES                          ACA 4-ALDF-6B-01
                                                              Non-Mandatory
                                                              Obsoletes:
                                                              Prior Jail Medical Policies
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    Grievance Process for Health Care                         Number of pages: 2
               Complaints
                  level grievance (appeal) to the Health Service administrator. If still
                  aggrieved a sealed letter may be sent to the Denver Health Patient
                  advocate.

                  A log is maintained of grievances with the name, the date written if noted,
                  the date received, the response date, the type of complaint, and the
                  outcome.

                  The Grievance Log and trend information will be presented to the
                  Continuous Quality Improvement (CQI) Committee. If trends are noted,
                  the CQI committee may formulate action and review the results of this
                  action.




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DENVER HEALTH                                                   POLICY:
Department of Correctional Care                                 NCCHC J-B-07
                                                                Essential
DENVER SHERIFF DEPARTMENT FACILITIES                            ACA 4-ALDF-4C-40
                                                                Non-Mandatory
                                                                ACA 4-ALDF-4D-14
                                                                Mandatory
                                                                Obsoletes:
                                                                Prior Jail Medical Policies

                                                                Effective Date: 1-1-22
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 Communication on Patients’ Health Needs                        Number of pages: 3

Rationale:        Communication occurs between the facility administrator and treating
                  health staff regarding patients’ significant health needs that must be
                  considered in classification decisions in order to preserve the health and
                  safety of the patient, other patients, or staff. To assure the health and
                  safety of patients with special needs, there should be communication
                  between Health Services and the Denver Sheriff Department (DSD).

Policy:           There will be active communication between the jail administrator or
                  designee(s) and the Responsible Physician or designee(s) on patients
                  with significant medical or behavioral health conditions or disabilities prior
                  to the following actions:
                   Housing Assignments
                   Work Assignments
                   Program Assignments or selection
                   Disciplinary Measures
                   Admissions to and Transfers from facilities
                   Clothing or appearance
                   Activities of daily living
                   Transports to and from outside appointments

Responsibility:   Denver Sheriff Department
                  Health Services

                  DENVER COUNTY JAIL (DCJ) AND DENVER DETENTION FACILITY
                  (DDC)
                   Officers are advised of patients’ special needs that may affect
                     housing, work, and program assignments; disciplinary measures,
                     admissions to and transfers from institutions, transport to and outside
                     appointments, clothing or appearance and activities of daily living.
                     Whenever a patient has any of the above or significant medical or
                     behavioral health condition that would affect his or her activities in the
                     jail, a RECOMMENDATIONS FOR CLASSIFICATION (RFC) form will be
                     completed. The RFC is how health needs are communicated with the




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DENVER HEALTH                                                   POLICY:
Department of Correctional Care                                 NCCHC J-B-07
                                                                Essential
DENVER SHERIFF DEPARTMENT FACILITIES                            ACA 4-ALDF-4C-40
                                                                Non-Mandatory
                                                                ACA 4-ALDF-4D-14
                                                                Mandatory
                                                                Obsoletes:
                                                                Prior Jail Medical Policies

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 Communication on Patients’ Health Needs                        Number of pages: 3

                      DSD and documented in the chart.
                     The yellow copy will be forwarded to Classification. The original will
                      remain in the patient’s chart. Copies without a name stamp may be
                      returned from classification to the Health Services Staff for name
                      clarification.
                     For patients housed at the Denver County Jail (DCJ) Medical Unit or
                      the Denver Detention Center (DDC) Medical unit a door tag is utilized.
                      Limitations may be noted.
                     Any time an officer has a concern about the ability of a patient to
                      function in either a housing or work assignment, the officer will notify
                      Health Services for review.
                     Health Services shall be notified for medical or behavioral health
                      clearance prior to transfer to another facility. In the case of patients
                      being transferred, written prescriptions may be written to accompany
                      the patient if needed and Health Services has been notified in
                      advance of the transfer.
                     Prior to release, patients housed in the DCJ Medical Unit or the DDC
                      Medical Unit for acute medical or behavioral health problems will be
                      reassessed by the Health Services to determine if it is safe to release
                      the individual to the street or if arrangements need to be made to
                      transfer the individual to a medical facility. The internal hold is placed
                      by the Health Services Staff on an internal mental health hold form.
                      The original is placed in the front of the health record and a copy is
                      provided to classification/records to flag the patient record prior to
                      release.

                  Health and custody staff communicates about patients with special needs
                  conditions that may include, but are not limited to, the following:
                   Chronically ill
                   On dialysis
                   Adolescents in adult facilities
                   Communicable diseases
                   Physically disabled
                   Pregnant




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DENVER HEALTH                                                   POLICY:
Department of Correctional Care                                 NCCHC J-B-07
                                                                Essential
DENVER SHERIFF DEPARTMENT FACILITIES                             ACA 4-ALDF-4C-40
                                                                Non-Mandatory
                                                                ACA 4-ALDF-4D-14
                                                                Mandatory
                                                                Obsoletes:
                                                                Prior Jail Medical Policies

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 Communication on Patients’ Health Needs                        Number of pages: 3

                     Frail or old age
                     Terminally ill
                     Mentally ill or suicidal
                     Developmentally disabled
                     Suspected victims of physical or sexual abuse
                     Intellectual disability
                     Physical or sexual abuse
                     Physical or mental health contradictions to restraint or seclusion
                     Gender dysphoria, transgender

                      CONFIDENTIALITY
                      The Health Authority shares information with the Sheriff or designee
                      regarding a patient’s health management. The circumstances are
                      specified when correctional staff are advised of a patients health
                      status. Only information necessary to preserve the health and safety
                      of the patient, other patients, volunteers, visitors, or correctional staff
                      is provided. Information provided addresses only the health needs of
                      the patient as it relates to housing, program placement, security, and
                      transport.




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DENVER HEALTH                                                 POLICY:
                                                              NCCHC J-B-08
Department of Correctional Care
                                                              Important
DENVER SHERIFF DEPARTMENT FACILITIES                          ACA
                                                              No cross-reference
                                                              Obsoletes:
                                                              Prior Jail Medical Policies
                                                              (J-B-02 Environmental Health and
                                                              Safety)
                                                              Effective Date: 1-1-22
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                                                              Review Date: 1-1-23

                  Patient Safety                              Number of pages: 3


Rationale:        Facility staff implements systems to reduce risk and prevent harm to
                  patients. Denver Health (DH) /Denver Sheriff Department (DSD) are
                  committed to creating and sustaining a culture of patient safety and
                  quality. As part of that process, DH utilizes Occurrence Reports - a real-
                  time, Web-based reporting tool that increases awareness of patient safety
                  concerns. This reporting system is used to promote patient safety by
                  instituting systems to prevent adverse and near-miss clinical events.

Policy:           The Responsible Health Authority (RHA) and Nurse Manager proactively
                  implements patient safety systems to prevent adverse and near-miss
                  clinical events. The RHA implements a reporting system for health
                  services staff to voluntarily report, in a non-punitive environment, adverse
                  and near miss events that affect patient safety.

Responsibility:   Responsible Health Authority (RHA)
                  Nurse Manager
                  Health Services
                  Denver Sheriff Department

Procedure:        Staff is informed of the system during orientation. The web training
                  teaches employees how to utilize the system and is available to
                  employees anytime during their employment. There is a desk top icon for
                  easy access and training of the system. Patient occurrences are
                  encouraged to be reported on a voluntary basis. Reporting should be
                  factual and to the point, and should avoid emotion and blame. Listed
                  below are some guidelines for the types of events that should be
                  reported. However, in spite of the recommendations, if you think it needs
                  to be reported - report it!
                  What to report
                   Patient deaths - should be reported if the death was a result of an
                      occurrence or a breach in the quality of care.
                   Events related to patient transfer or patient transport
                   Medication errors – especially those involving the following high risk
                      categories: hypoglycemic agents/insulin; anticoagulants/heparin;
                      chemotherapeutic agents; and narcotics;
                   Adverse drug reactions



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DENVER HEALTH                                                 POLICY:
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Department of Correctional Care
                                                              Important
DENVER SHERIFF DEPARTMENT FACILITIES                          ACA
                                                              No cross-reference
                                                              Obsoletes:
                                                              Prior Jail Medical Policies
                                                              (J-B-02 Environmental Health and
                                                              Safety)
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                 Patient Safety                               Number of pages: 3


                     Falls
                     Skin breakdown
                     Complications of treatment, procedures or tests (even if it is a known
                      complication)
                     Errors related to treatment, procedures or tests
                     Assaults
                     Equipment malfunction
                     Lack of appropriate consent
                     Significant delays in care that cause harm

                  Provide the following details of the occurrence (whenever possible):
                   What happened
                   Who was involved
                   Patient assessment/condition following the event/new injuries
                   Vital signs after the event (baseline vitals, if possible)
                   Change in mental status/level of consciousness
                   Who was notified
                   Interventions

                  Additionally, if there is an occurrence related to new initiatives,
                  information technology (i.e. EHR), medical equipment or space, please
                  document the event using keywords to identify trends in those areas.

                  Although Denver Health does not want to discourage anyone from
                  entering an occurrence report, staff needs to know the time they spend on
                  occurrences is important to the improvement process. Therefore, the
                  guidelines below should help identify events that do not need to be
                  reported:
                     Staff injuries - No staff injuries should be entered. Staff injuries
                      should be reported to the OUCH line. If a staff member is assaulted
                      by a patient, the patient behavior should be entered as a patient
                      occurrence.

                     Interdepartmental conflicts regarding process/procedure should not be
                      reported on occurrences, but rather to the manager of the department.




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DENVER HEALTH                                                 POLICY:
                                                              NCCHC J-B-08
Department of Correctional Care
                                                              Important
DENVER SHERIFF DEPARTMENT FACILITIES                          ACA
                                                              No cross-reference
                                                              Obsoletes:
                                                              Prior Jail Medical Policies
                                                              (J-B-02 Environmental Health and
                                                              Safety)
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                 Patient Safety                               Number of pages: 3


                  If there is a concern about the quality of patient care, staff can also
                  directly contact the Department of Patient Safety and Quality or the Risk
                  Management Department.

                  Occurrences are reviewed as part of the Continuous Quality Improvement
                  (CQI) meetings. The report assists with communication between health
                  services and custody staff and proactive measures to avoid injuries.




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DENVER HEALTH                                                  POLICY:
Department of Correctional Care                                NCCHC J-C-04
                                                               Essential
DENVER SHERIFF DEPARTMENT FACILITIES                           ACA
                                                               No cross-reference
                                                               Obsoletes:
                                                               Prior Jail Medical Policies

                                                               Effective Date: 1-1-22
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  Health Training for Correctional Officers                    Number of pages: 2


Rationale:        Correctional officers are trained to recognize the need to refer a patient to
                  a qualified health care professional. Officers are with patients on a daily
                  basis and in close proximity in the event of an emergency, it is important
                  they recognize certain medical conditions and can relay this information
                  to the health services staff.          Rapid initiation of first aid and
                  Cardiopulmonary Resuscitation
                  (CPR) may improve outcomes.

Policy:           Officers who work with patients will be trained at the Denver Sheriff
                  Department Training Academy at the beginning of employment and every
                  two years thereafter in the following health related areas:
                       Administration of first aid
                       Recognition of the need for emergency care and intervention in
                          life-threatening situations
                       Recognition of acute manifestations ( asthma, seizures and
                          diabetes) of chronic illnesses, intoxication and withdrawal, and
                          adverse reactions to medications
                       Recognition of signs and symptoms of mental illness
                       Dental emergencies
                       Procedures for suicide prevention
                       Standard Precautions for infection control and communicable
                          diseases
                       Procedures for appropriate referral of patients with medical, dental
                          and behavioral health complaints to staff
                       Basic CPR including the use of an automated external defibrillator
                          (AED)
                       Maintaining patient confidentiality
                  There is an outline of the course content and length of time on each topic.
                  The Responsible Health Authority, Responsible Physician, Lead
                  Psychologist and facility administrator reviews and approves this training.
                  While it is expected that 100% of the officers who work with patients are
                  trained in all areas, compliance of the standard requires a minimum of
                  75% of officers on each shift will be current in the above training.




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DENVER HEALTH                                                POLICY:
Department of Correctional Care                              NCCHC J-C-04
                                                             Essential
DENVER SHERIFF DEPARTMENT FACILITIES                         ACA
                                                             No cross-reference
                                                             Obsoletes:
                                                             Prior Jail Medical Policies

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  Health Training for Correctional Officers                  Number of pages: 2


                  Records of attendance are kept for each employee. These records are
                  maintained at the Denver Sheriff Department Training Academy.

Responsibility:   Denver Sheriff Department Training Academy
                  Health Services Staff requested to teach at the Academy
                  Responsible Health Authority (RHA)

Procedure:        The Denver Sheriff Department will develop a training curriculum to
                  include the above areas. The health authority, responsible physician or
                  designee along with Behavioral Health teach and/or review and approve
                  this curriculum.
                  Training academy staff will request Health Services staff to assist in the
                  teaching of classes for the above as needed.

                  The training academy will keep records of officers trained and forward
                  them to the Health Authority upon request.




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DENVER HEALTH                                                 POLICY:
Department of Correctional Care                               NCCHC J-D-07
                                                              Essential
DENVER SHERIFF DEPARTMENT FACILITIES                          ACA 4-ALDF 1C-01,02
                                                              ACA 4-ALDF 4D-08
                                                              Mandatory
                                                              ACA 4-ALDF 4D-09
                                                              Non-Mandatory
                                                              Obsoletes:
                                                              Prior Jail Medical Policies

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Emergency Services and Response Plan                          Number of pages: 6


Rationale:        Prior knowledge of the course of action to follow in the event of an
                  emergency is essential to a rapid response and increases the likelihood
                  of a positive outcome.

Policy:           Planning for emergency health care ensures staff is prepared to
                  effectively respond during emergencies. Health services will know the
                  course of action to follow in the event of an emergency and will be trained
                  to respond within four minutes. Each individual should be aware of his or
                  her role in this course of action. Health Services will be familiar with the
                  evacuation plan for the Medical Unit’s and their role in the Denver Sheriff
                  Department Fire Safety and Natural Disaster Plan. In the event of a
                  Medical Unit evacuation, health services will assist the officers in the
                  evacuation of patients. The telephone numbers for staff as well as the
                  community emergency response system will be readily available in both
                  jails. One mass disaster drill will be conducted at each facility annually.
                  Each shift at each facility will practice a man down scenario annually.
                  Staff will know the parameters and boundaries of treatment given to
                  visitors and employees. Health Service Staff is available 24 hours a day,
                  seven days a week to provide emergency services defined as a health
                  need that cannot be deferred to the next sick call. The officers provide
                  emergency services until health services arrive. There is a medical
                  provider and a behavioral health provider on call at all times. Denver
                  Sheriff Department personnel will be trained regarding referral of patients
                  for emergency care, the summoning of an ambulance for transport and
                  the security procedures in these circumstances. Ambulance transport will
                  be to Denver Health Emergency Department unless the hospital is on
                  divert or the acuity of the illness is such that transport to the nearest
                  facility is paramount.


Responsibility:   Denver Sheriff Department (DSD)
                  Health Services Staff




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                                                             Essential
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                                                             ACA 4-ALDF 4D-08
                                                             Mandatory
                                                             ACA 4-ALDF 4D-09
                                                             Non-Mandatory
                                                             Obsoletes:
                                                             Prior Jail Medical Policies

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Emergency Services and Response Plan                         Number of pages: 6



                  Nurse Manager and/or Nurse Educator

Procedure:        Initial Notification
                  In the event of an emergency (mass disaster or patient death), nursing
                  staff on site will notify the following:
                   The Responsible Physician, Health Services Administrator, and Nurse
                      Manager.
                   The Designated Behavioral Health Clinician in the case of a suicide
                   The Jail Provider on call
                  Each individual will then notify their appropriate supervisor.

                  Response—The above will respond to the jail facilities for a mass
                  disaster unless notified not to do so. They will determine if additional
                  personnel are needed and arrange notification of additional staff.

                  Triage—The charge nurse or designee will take control of the scene,
                  complete an initial scene survey including a casualty count, assign
                  nurses to evaluate specific patients and confirm with the officers on site
                  that the Emergency Medical Services ( EMS) has been contacted and is
                  in route.    Each nurse will rapidly assess the assigned patients and
                  immediately correct life-threatening problems (airway maintenance, stop
                  hemorrhaging). Once this is accomplished, each nurse will determine the
                  patient status classifying each as Emergent, Urgent or Delayed. The
                  charge nurse will confer with the assessing nurses and prioritize the
                  patient care based upon need. Once the EMS has arrived, they will
                  assume control and the above functions will be relinquished with health
                  services assisting as requested.

                  Definitions:
                   Emergent—respiratory distress or compromise, multi-system trauma,
                     long bone injuries with compromised circulation, a situation where




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                                                              Mandatory
                                                              ACA 4-ALDF 4D-09
                                                              Non-Mandatory
                                                              Obsoletes:
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                      immediate delay in treatment might cause significant or irreversible
                      deterioration of the patient’s condition including death
                     Urgent—conditions which need to be attended to within 2-4 hours to
                      prevent irreversible damage
                     Delayed—conditions where delaying treatment over 4 hours but less
                      than 24 hours would not have an untoward effect on the eventual
                      outcome.

                  Location—Treatment will be rendered in the Medical Unit at the Denver
                  County Jail (DCJ) and Denver Detention Center (DDC) unless otherwise
                  directed. In the event that this is not possible, other locations as
                  determined. Emergency bags will be stationed as follows:
                  DCJ: the Medical Unit, Building 19 Exam Room and Building 24 -exam
                  rooms.
                  DDC: the Medical Unit, Intake room A, 2nd, 4th, and 5th Medical Exam
                  rooms.
                  An emergency cart is located in the special procedures room at the DDC.
                  The pharmacist will check and replenish supplies quarterly. A log of these
                  checks will be kept.

                  First Aid Kits-The DCJ and DDC Medical Unit operates as 24 hour/7 day
                  facility and Health Services responds to emergencies. The Denver Sheriff
                  Administrators, Responsible Physician and the Denver Health Authority
                  Administrator have determined that First Aid Kits are not necessary
                  throughout the facility. Emergency bags will be stationed in designated
                  areas throughout the jail for emergency and mass casualty situations to
                  be utilized by Health Services.
                  Security—Officers will direct movement within the jail and on jail grounds.

                  Additional Measures—In the event of a disaster involving significant
                  injuries, officers will notify the Emergency Department of Denver Health
                  (DH) of the need for assistance including ambulances and additional




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                                                              Mandatory
                                                              ACA 4-ALDF 4D-09
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Emergency Services and Response Plan                          Number of pages: 6


                  health service personnel as determined by the Responsible Physician.
                  The Health Services Staff will continue to assist until the crisis is over.

                  Boundaries-
                  DDC-Denver Sheriff Department (DSD) and DH agree that as it pertains
                  to the areas located at the Downtown Detention Center (DDC) the Denver
                  Health Staff located at the DDC will be the primary response team for
                  medical emergencies for areas excluding: The DUI Room, Court House
                  Building and the adjoining tunnel. (The tunnel is defined as the threshold
                  that enters the tunnel from the DDC.) In these areas the Denver Health
                  Staff may assist but the emergency 911 system will be identified as the
                  primary response team for emergency medical responses in these areas.
                  DCJ-Health Services Staff will be responsible for patient areas within the
                  facility.

                  Disasters Involving Health Services Staff Casualties-
                  In the event of a disaster, that incapacitates a significant number of the
                  Health Services Staff, the officers will notify the Emergency Department
                  of Denver Health about the situation as well the Responsible Physician
                  and Nursing Manager. The Responsible Physician and Nursing Manager
                  will report to the scene and simultaneously activate as many off-site staff
                  as possible.

                  DISASTER DRILL AND MAN –DOWN DRILL
                   The Clinical Nurse Educator (CNE) and the Denver Sheriff
                     Department will prepare disaster scenarios yearly (one mass casualty
                     and one man down) for each facility. These drills will occur so each
                     shift can participate.
                   The Clinical Nurse Educator or designee will schedule these drills at
                     the respective facilities to assure staff is involved.
                   The Clinical Nurse Educator will prepare a written critique of these
                     drills and after approval from the Nurse Manager submit them to the




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                                                                Essential
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                                                                ACA 4-ALDF 4D-08
                                                                Mandatory
                                                                ACA 4-ALDF 4D-09
                                                                Non-Mandatory
                                                                Obsoletes:
                                                                Prior Jail Medical Policies

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                      Health Authority for review. The critiques will include: response time,
                      names and titles of all staff participating, roles and responsibilities of
                      all participants as well appropriate and inappropriate staff responses.
                      Action items will be documented and implemented.
                     The critique will then be submitted to the Continuous Quality Control
                      (CQI) Committee for discussion and recommendations for
                      improvement
                     The final reviews will then be shared by the Clinical Nurse Educator at
                      staff meeting and sent out via email to staff at both facilities.
                      Recommendations for health services are acted upon. Staff not
                      present at the drills will receive the critique via email and are required
                      to review at that time.

                  TREATMENT OF VISITORS AT THE DENVER COUNTY JAIL AND
                  DOWNTOWN DENTENTION CENTER

                  SCOPE OF CARE—Treatment of visitors at the jails is limited to emergency
                  first aid and emergency stabilization including Cardiopulmonary
                  Resuscitation (CPR). This treatment will continue until such time that the
                  situation resolves or the paramedics assume care. Treatment will take
                  place in the visitor areas. Under no circumstances will a visitor be
                  brought into the secured area of the jails including the Medical Unit.

                  GEOGRAPHIC BOUNDARIES—At the DDC, the jail health services will
                  respond to emergencies inside the building only. Emergencies outside
                  the building will be handled by the 911 system. At DCJ, the boundaries
                  include areas inside the fences and the fenced parking areas.

                  DOCUMENTATION—Care rendered to visitors will be documented in the
                  Occurrence Report System. This will include the name of the visitor, the
                  type of emergency, the care rendered and the outcome and/or
                  disposition.




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                                                                Essential
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                                                                ACA 4-ALDF 4D-08
                                                                Mandatory
                                                                ACA 4-ALDF 4D-09
                                                                Non-Mandatory
                                                                Obsoletes:
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                  TREATMENT OF EMPLOYEES (INCLUDING CONTRACT EMPLOYEES)

                  SCOPE OF CARE—Treatment of employees at the jails is limited to
                  emergency first aid and emergency stabilization including CPR. This
                  treatment will continue until such time that the situation resolves or the
                  paramedics assume care. Care rendered to Denver Sheriff Department
                  personnel will be documented in the Occurrence Report System. Denver
                  Sheriff Department or Denver Health employees sustaining an injury at
                  the jail will be referred to the Occupational Health Clinic at Denver Health
                  as per Denver Sheriff Department and Denver Health policies. Contract
                  employees will be referred to the supervisor of the contracting agency to
                  ascertain where the employee should be sent for further evaluation and
                  care. Employees may be given aspirin or Tylenol; however, under no
                  circumstances are employees to be given prescription medication. If
                  employees request it, they may be given available health education
                  material.

                  The health aspects of the emergency response plan are approved by the
                  responsible health authority and facility administrator. Notifications will be
                  made as appropriate to the Sheriff.




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DENVER HEALTH                                                  POLICY:
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                                                               Essential
DENVER SHERIFF DEPARTMENT FACILITIES                           ACA 4-ALDF-4C-05
                                                               ACA 4-ALDF-4C-06
                                                               Non-Mandatory
                                                               Obsoletes:
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          Hospital and Specialty Care                          Number of pages: 3


Rationale:        At times a patient has a condition that requires care that cannot be
                  provided at the correctional institution. To avoid delays in patient care, it
                  is necessary to have arrangements made for hospital, emergency and
                  specialty care.

Policy:           In-patient hospitalization and outpatient specialty consultation is provided
                  as per the operating agreement between the Denver Sheriff Department
                  (DSD) and Denver Health (DH). The responsible physician or designee is
                  available for consultation to Denver Health with regard to care of a patient
                  in the custody of the Denver Sheriff Department.

                  IN-PATIENT HOSPITALIZATION that does not require ICU or labor and deliver
                  services occurs on a locked unit, the Correctional Care Medical Facility
                  (CCMF) of Denver Health. Security on this unit is provided by the Denver
                  Sheriff Department. Care is provided by the appropriate health service.
                  Those patients that need more intensive care are placed in the
                  appropriate unit of the hospital until such time that they are stable and
                  can be transferred to the locked unit.

                  OUTPATIENT SPECIALTY CONSULTATION occurs in the Denver Health
                  Emergency Department or by the subspecialty services of DH. Clinics
                  may take place either in the CCMF Clinic area or in the subspecialty clinic
                  if specialized equipment is needed.

                  Upon return to the jail from a hospital visit or hospitalization, the patient
                  will be brought to the Medical Unit with discharge paperwork or with the
                  discharge paperwork available in the electronic health record ( EHR) and
                  a nurse will review the information from the appointment or discharge
                  prior to the patient returning to his or her housing unit. A copy of the
                  discharge instructions may be provided to the patient.

Responsibility:   Health Services Staff
                  Denver Health
                  Denver Sheriff Department Personnel




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DENVER HEALTH                                                    POLICY:
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                                                                 Essential
DENVER SHERIFF DEPARTMENT FACILITIES                             ACA 4-ALDF-4C-05
                                                                 ACA 4-ALDF-4C-06
                                                                 Non-Mandatory
                                                                 Obsoletes:
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         Hospital and Specialty Care                             Number of pages: 3




Procedure:        SPECIALTY CLINIC AND PROCEDURE APPOINTMENTS—when it is determined
                  by a provider that a patient needs consultation at a specialty clinic or a
                  procedure, this will be noted in the orders. The ward clerk, behavioral
                  health care technician (BHCT), or nurse taking off the orders will enter the
                  information on the Appointment Board. The clinic clerk will request an
                  appointment. If there is a time frame specified in the order and clinic clerk
                  cannot get an appointment in this time frame, he or she will bring the
                  chart to the provider to discuss how to proceed. If overbook is necessary,
                  the provider or designee requesting the appointment will call the attending
                  of that clinic or CCMF to arrange the appointment. Once this is
                  completed, the provider will note this in the chart and return the chart to
                  the clerk. The clerk will then complete the paperwork and arrange
                  transport.

                  The day of the appointments the officers will call the patients and
                  transport to the hospital via bus or van. If the patient has transferred to
                  another Denver Sheriff facility the officer will call to have the patient
                  brought to the clinic on that facilities bus.


                  MISSED/REFUSED APPOINTMENTS—a patient, who refuses, should be
                  counseled. If the refusal occurs prior to leaving the jail, the patient should
                  be brought to the Medical Unit to sign a medical refusal and counseled by
                  health services. If the patient refuses to come to medical, health services
                  will attempt to obtain a refusal in the housing unit. A copy of the refusals will
                  be sent as soon as possible to the clinic clerk for tracking and clinic
                  notification. If a patient misses a clinic appointment due to transportation
                  the clinic clerk will complete an occurrence report and notify the Health
                  Service Administrator. The health authority or designee will review the
                  tracking quarterly and report to CQI if patterns of missed appointments are
                  noted.




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DENVER HEALTH                                                  POLICY:
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                                                               Essential
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                                                               ACA 4-ALDF-4C-06
                                                               Non-Mandatory
                                                               Obsoletes:
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         Hospital and Specialty Care                           Number of pages: 3


                  EMERGENCY REFERRALS—If upon seeing a patient, a provider determines
                  referral to the DH Emergency Department is needed, he or she will notify
                  the officer indicating what type of transport is necessary, i.e. ambulance,
                  bus or van. The chart will then be brought to a nurse for completion of
                  the Medical Referral Form and copying of relevant information, i.e. EKG.
                  The patient will remain in the Medical Unit until such time that the
                  transport takes place.

                  HOSPITALIZATIONS—The majority of hospitalizations occur through the DH
                  Emergency Department; however, a provider can arrange a direct
                  admission.


                  PATIENTS RETURNING FROM CLINICS, PROCEDURES OR HOSPITALIZATION—
                  Patients returning from the hospital will be brought to the Medical Unit so
                  a nurse may evaluate and complete the hospital return form. The nurse
                  will check for orders, and date and initial these.             If a follow-up
                  appointment must be made, the standard procedure for this will be
                  followed. The health record contains results and recommendations from
                  off-site visits, or attempts by health services to obtain these results.

                  Evidence demonstrates there is appropriate and timely access to hospital
                  and specialty care when necessary. When patients are referred for
                  outside care, written or verbal information about the patient and the
                  specific problem to be addressed will be communicated to the outside
                  entity.




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DENVER HEALTH                                                POLICY:
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                                                             Essential
DENVER SHERIFF DEPARTMENT FACILITIES                         ACA-4-ALDF-4C-38
                                                             Mandatory
                                                             Obsoletes:
                                                             Prior Jail Medical Policies

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          Pharmaceutical Operations                          Number of pages: 6


Rationale:        Treatment of various disease entities requires prescription medication.
                  There are many governmental regulations with regard to the prescribing,
                  dispensing, procurement and storing of such medications.

Policy:           Pharmaceutical operations meet the needs of the facility and conform to
                  legal requirements. The Denver Sheriff Health Services Program will
                  comply with state and federal regulations with regard to prescribing,
                  dispensing, administering and procuring pharmaceuticals.

                  The Denver Sheriff Department facilities will use the Denver Health
                  medically indigent formulary or modifications as approved by the Denver
                  Sheriff Health Services Pharmacy and Therapeutic committee. If a non-
                  formulary drug is deemed essential for the health and well being of
                  patient, a non-formulary request form will be completed and presented to
                  the responsible physician or designee for review and approval.

                  There will be timely procurement, dispensing, distribution, accounting and
                  disposal of pharmaceuticals. There will be records, which document
                  control and accountability of medications except those that may be
                  purchased over the counter. Controlled substances will be stored with
                  maximum-security storage and accounted for in accordance with the Drug
                  Enforcement Agency (DEA) and state regulations.

                  Medications will be administered upon the order of a physician, dentist or
                  person with such designated privileges. There will be an automatic
                  review every 90 days of medications that are not ordered for a limited
                  period of time. Psychotropic medications will only be administered for
                  therapeutic indications and not for punishment or behavior control.

                  Patients will not prepare, dispense or administer medication except for
                  self-medication programs as approved by the facility administrator and
                  responsible physician. Patients may be allowed to have “keep on person”
                  medications necessary for emergency management of a condition when
                  ordered by a provider.

                  Outdated, discontinued or recalled medications will be removed from drug




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                                                             Mandatory
                                                             Obsoletes:
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                  storage and medication areas.

                  Medications will be stored under proper conditions of sanitation,
                  temperature, light, moisture, ventilation, segregation and security.
                  Antiseptics, disinfectants and other medications for external use are
                  stored separately from internal and injectable medications. Medications
                  that require special storage for stability are so stored.

                  Denver Health will assign pharmacist(s) who will assist in assuring that
                  the above are in compliance. The pharmacist will also assist in
                  maintaining the on-site Medication Rooms, the medication formulary, and
                  informing staff of changes to the formulary. The pharmacist will assure
                  proper storage and accountability of pharmaceuticals.

                  There will be an adequate supply of emergency medications and
                  antidotes. The phone number to Poison Control (1-800-222-1222) will be
                  prominently displayed.

                  Expired medications and those brought in by patients and not retrieved in
                  a specified period of time will be disposed of in a manner consistent with
                  governmental regulations.

Responsibility:   Pharmacist assigned by Denver Health (DH)
                  Health Services Staff
                  Denver Health Pharmacy

Procedure:        The Pharmaceutical supplies at the Denver Detention Center (DDC) and
                  the Denver County Jail (DCJ) are considered an “Other Outlet” pharmacy
                  and have licensure as such which is posted in each Medical Unit. The
                  State Board of Pharmacy makes periodic inspections to assure
                  compliance with state pharmacy regulations. A staff or consulting
                  pharmacist documents inspections and consultations of both the DDC
                  and DCJ at least quarterly.

                  PHARMACIST—Denver Health Medical Center assigns a pharmacist who




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                                                           Essential
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                                                           Mandatory
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                  is responsible for oversight of pharmacy services of the DDC and the
                  DCJ. Responsibilities of the pharmacist include:
                   Compiling a formulary specific for the jails
                   Assisting in procurement of medications
                   Informing care providers of changes in medication availability
                   Inventory, ordering and stocking of medications
                   Ensuring medications are appropriately stored
                   Recovering outdated, recalled or discontinued medication
                   Assuring compliance with State Board of Pharmacy regulations
                   Acting as a resource with regard to regulatory changes and new
                      information on medications
                   Maintain oversight of prescribed medications
                   Available for patient medication counseling
                   Supervising the Pharmacy Technician’s

                  PROCUREMENT AND STOCKING
                  DDC/DCJ—the pharmacist inventories and orders medications based
                  upon need. Medications are delivered Monday –Friday as needed.
                  When the medication order arrives at the facility, the pharmacist or
                  pharmacy tech takes possession of the medications and inventories the
                  medication against the order sheet. The pharmacy tech repackages the
                  medication in blister packs. The pharmacist checks the blister packs of
                  medications and documentation of repackaging. The pharmacist then
                  stores the blister packs on the shelves of the medication room.. The
                  pharmacist or pharmacy tech check and restock the medication carts
                  three to five times a week to assure an adequate supply of medications
                  are on the carts; however if a nurse notices that a medication is low,
                  she/he may obtain a blister pack of that medication from the medication
                  room..

                  DDC Intake— nursing staff informs the pharmacist or designee about
                  new medications. The pharmacy staff will arrange delivery of requested
                  medication.

                  FORMULARY—the medically indigent formulary is available online on the
                  Denver Health Pulse. In addition, the pharmacist will compile a list of




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                  medications stocked at the jail. This list will be available in the medication
                  room.

                  SPECIAL ORDER MEDICATIONS—when a medication is ordered for which
                  there is no therapeutic equivalent on the formulary, the pharmacist
                  contacts the responsible physician or designee for review of medical
                  necessity and completion of a Non-formulary Medication Request form.
                  After this is approved the pharmacist obtains the medication. When this
                  arrives, it will be noted and placed on the medication cart that goes to the
                  patients housing area.

                  CONTROLLED SUBSTANCES—Controlled substances are stocked and
                  administered. Pregnant patients requiring methadone maintenance will be
                  transferred to the Correctional Care Medical Facility (CCMF) if they
                  require methadone initiation. The on-call substance abuse provider will
                  arrange for admission to CCMF. Either the admitting physician or CCMF
                  nursing staff will notify the physician covering the housing service.

                  Both the DDC and DCJ have a formulary which is kept and maintained by
                  the DH staff pharmacist assigned to each facility.

                  The pharmacist or designee orders controlled medications and verify the
                  correct amount is received upon delivery. The controlled medications are
                  repackaged, checked and added to the controlled medication count book.
                  The pharmacist and nurse will verify and sign the count sheet. The
                  controlled medications will be stored in the locked drawer in the
                  medication room or in the medication carts.

                  Methadone, for patients enrolled and current in a maintenance program,
                  is provided as a service of the Behavioral Health Department.
                  Two nurses from opposite shifts will count controlled substances at
                  change of shifts and both will sign the controlled substance sheet. Two
                  nurses will sign out controlled substances from the medication room and
                  will sign placement of controlled substance in a medication cart. Two
                  nurses are required to waste and sign for waste of any controlled
                  substance. If a nurse leaves a shift early the controlled substances are




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                  required to be counted prior to leaving the facilility. If there is any
                  discrepancy in the count, this will be immediately reported to the charge
                  nurse who will attempt to reconcile the count. If he or she is unable to do
                  so, he or she will complete an Occurrence Report (UHC) and notify the
                  Health Services Administrator, Nursing Manager and pharmacist.

                  ANTIDOTES AND EMERGENCY MEDICATIONS—the following are available in
                  the Emergency bag: normal saline, glucose gel, aspirin, epinephrine,
                  glucagon, D50, narcan, IM Benadryl, Nitroglycerin tablets, and ammonia
                  inhalant. The number for Poison Control (1-800-222-1222) is posted on
                  the bulletin board in the Nurses Station. A complete Safety Data Sheet
                  (SDS) book of substances used in the jail will be in the Medical Unit’s.
                  The SDS is updated when changes are made by the Denver Sheriffs
                  operations staff.

                  MEDICATION REVIEW—when prescribing medications, providers, dentists
                  or other persons authorized to do so will indicate the length of time for
                  which the medication is prescribed. The maximum time that a medication
                  can be ordered prior to review is 90 days. Stop or renewal dates will be
                  transcribed onto the Medication Administration Record (MAR).

                  When medication is due for review, a Health Services staff member will
                  utilize the medication renewal form indicating medications that are due for
                  review. The chart will then be placed in the appropriate provider sign pile.
                  The providers review these Monday through Friday.

                  Once the provider indicates whether the medication is to be renewed or
                  discontinued, this will be indicated on the MAR as follows:
                   If a medication is renewed, the medication sheet will be updated and
                      the next review date indicated;
                   If a medication is discontinued, the medication sheet will be marked
                      discontinue with the date indicated, the staff member initial’s noting
                      the order, a line drawn through the remainder of the order.

                  OUTDATED/DISCONTINUED/RECALLED MEDICATIONS—on a regular basis,
                  the pharmacist will check areas where medications are stored for




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                  outdated, discontinued or recalled medications. He will remove these
                  medications and send them to a reverse distributor. Medications that are
                  brought in by patients and not retrieved in a timely fashion are sent to the
                  reverse distributor.

                  MEDICATION STORAGE—Medications that do not require refrigeration are
                  stored in cabinets in the medication room. Pills in their original containers
                  are stored separately from those which have been repackaged in blister
                  packs. Medications for external use are stored in cabinets separate from
                  oral medications. There is a refrigerator which is equipped with a
                  sensodyne thermometer which notifies personnel if the temperature is out
                  of range.     Additionally, staff checks and records the refrigerator
                  temperature daily as required by the state pharmacy board. Pharmacy
                  staff cleans the medication room on a regular basis to assure that it is
                  hygienic.

                  PATIENT ACCESS TO MEDICATIONS—Patients have no access to the
                  medication carts or the medication rooms.       When the floor in the
                  medication room needs cleaning, patients will enter the room only when
                  there is both a member of security staff and Health Services staff to
                  observe and supervise. Medication carts are required to be secured
                  when not in use.




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                    Medication Services                            Number of pages: 2


Rationale:             Provision of appropriate medications for therapeutic indications enhances
                       the clinical well being of patients.

Policy:                Medications are provided in a timely, safe, and sufficient manner and
                       prescribed when clinically indicated.
                       The Responsible Physician or designee determines prescriptive
                       practices. Patients admitted to the facility on prescriptive medication
                       continue to receive the medication in a timely fashion, or justification for
                       an alternate treatment plan is documented.

Responsibility:        Responsible Physician
                       Pharmacist
                       Health Services Staff

Procedure:             Every attempt is made during the receiving screening to verify
                       medications and administer as verified. Medications that are not verified
                       during the receiving screening are verified within 48 hours and
                       administered during the next routine medication pass. Medications are
                       substituted to formulary using the Medication Substitution protocol
                       approved by the Responsible Physician. The Denver Sheriff Health
                       Services will use the Denver Health medically indigent formulary. If a
                       non-formulary drug is deemed essential for the health and well being of a
                       patient, a non-formulary request form will be completed and presented to
                       the Denver Health Pharmacy and Therapeutics chair for review and
                       approval.
                       The Denver Sheriff Health Services will use the Denver Health medically
                       indigent formulary. If a non-formulary drug is deemed essential for the
                       health and well being of a patient, a non-formulary request form will be
                       completed and presented to the Denver Health Pharmacy and
                       Therapeutics chair for review and approval.


                       Medications will be administered upon the order of a provider, provider
                       ordered protocol, dentist or other legally authorized individual only when
                       clinically indicated. There will be a medication review every 90 days of
                       medications that are not ordered for a limited period of time. The provider
                       is notified of impending expiration of an order so that the provider can
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                       determine whether the drug administration is to be continued or altered.
                       Psychotropic medications will be administered for therapeutic indications
                       and not for punishment or behavior control.

                       Medications are kept under the control of appropriate staff members
                       except for Keep-on-Person (KOP) medications approved by the facility
                       administrator and responsible physician. There is a KOP medication
                       program at the Denver Sheriff Department to include select antibiotics,
                       provider order medications, inhalers, emergency medications and
                       selected patients are allowed to carry eye drops and creams (packaged in
                       plastic tubes). These patients will be given a card with the patients name,
                       CD number, and location, name of the medication, start date, stop date
                       and areas to mark if continuous and an area for comments. The patients
                       will be educated on the medication and the proper dosing. This education
                       should be documented in the medical record. Keep on Person
                       medications are given in a blister card, as an inhaler, or plastic tube/bottle
                       and these are documented and tracked through the pharmacy KOP log
                       book.

                       Medications are delivered in a timely fashion. The pharmacist has a
                       facility policy identifying the expected time frames from ordering to
                       delivery and a back up plan if the time frames cannot be met.

                       Medication errors will be reported using the on-line Occurrence
                       Reporting system




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Rationale:        An adequate health care delivery system is dependent upon having a
                  designated space that is appropriately supplied to provide health services
                  consistent with the standard in the community.

Policy:           Sufficient and suitable space, supplies, and equipment are available and
                  equipped to meet the needs of the patient population. There is a
                  designated space at both the Denver Detention Center (DDC) and the
                  Denver County Jail (DCJ) where the provision of health services occurs.
                  This area is cleaned and maintained by Denver Sheriff Department.
                  There are examination and treatment rooms which afford privacy and
                  have the necessary equipment and supplies for the type of service
                  provided in that particular space. There are pharmaceuticals on site. The
                  waiting areas for patients have seats and allow access to water and
                  toilets. Medical equipment is inventoried and maintained by Biomedical
                  Services at Denver Health (DH). Instrument counts are completed;
                  needles and syringes are inventoried and accounted for. There is a
                  secure storage area for medical records. Administrative offices have
                  adequate files and space for maintenance of administrative records.
                  Health Service Keys are accounted for.

Responsibility:   Health Services Staff
                  Denver Health Biomedical Services, Central Supply and Pharmacy
                  Denver Sheriff Department

                  Procedure: DESIGNATED SPACE—At the DDC, the Medical unit consists
                  of 22 beds which include 4 suicidal observation cells and 3 negative air
                  flow rooms. There are 2 exam rooms, 1 special procedure room, 1 x-ray
                  room, 2 Health Information management rooms, 1 dental office, 1
                  medication room and several areas for storage and linen. Needles and
                  syringes are also stored in this area and are locked unless a health
                  services staff person is present. There are exam rooms and interview
                  rooms located throughout the facility designated for medical and
                  behavioral health services. Doors in the medical and behavioral health
                  area can be closed for privacy. There is observation and housing space in
                  the medical unit and several observation cells located on each floor. The




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                  offices for the Health Services Administrative and support staff are
                  located on the 3rd floor adjacent to the medical unit.

                  There is a medication room with storage space for medications and with a
                  refrigerator designated for medications requiring refrigeration. The
                  refrigerator is equipped with a monitoring thermometer, which has an
                  alarm and notifies designated personal if the temperature is out of range.

                  The waiting area for the patients has seats.      Water and toilets are
                  accessible within the medical unit.

                  At the Denver County Jail, Building 4 houses the Medical Unit. There are
                  exam rooms for such activities as physical exams, provider and dental
                  visits and behavioral health interviews. These areas have doors that can
                  be closed for privacy.

                  There is a treatment room where emergencies are handled as well as
                  treatments such as wound care. There is a Nurses’ Station where the
                  Nurses’ Kite list and other nursing activities take place.     Health
                  Information Management (HIM) is adjacent to the Medication Room.

                  Additional administrative Offices for the Providers, Nursing Supervisors,
                  and the building sergeant are located in the back of the Medical Unit
                  separate from patient care areas. .

                  The waiting areas for the patients have seats.     Water and toilets are
                  accessible within the Medical Unit.

                  There is a medication room with storage space for medications and with a
                  refrigerator designated for medications requiring refrigeration. The
                  refrigerator is equipped with a monitoring thermometer, which has an
                  alarm and notifies designated personal if the temperature is out of range.

                  There are beds for patient housing including a day room. Two of these
                  rooms are for suicide observation and three are for less extreme




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                  behavioral health observation or behavioral management. Patients may
                  be placed in the Medical Unit by health services staff for a variety of
                  reasons including observation for acute illness or other issues, bed rest,
                  need for devices which may pose a security risk such as crutches, wired
                  jaws, or isolation.

                  There is a satellite clinic in building 19 which contains a medication cart,
                  exam tables and supplies to perform a variety of health service duties.
                  There is also a locked room in building 20 where a medication cart and an
                  emergency bag can be stored.

                  In addition to these areas there is an exam room in Building 21, the
                  women’s dormitory that is supplied to meet the needs of the female
                  population. Women’s health care activities occur in this room.

                  Behavioral health services are provided in an area with private interview
                  space for individual assessment and group treatment, as well as desks,
                  chairs, lockable file space and relevant testing materials.

                  EQUIPMENT—There is adequate medical equipment to run a fully
                  functioning outpatient clinic. This is inventoried and maintained through
                  Biomedical Services at Denver Health. Malfunctioning equipment will be
                  reported to charge Nurse or the behavioral health care technician (BHCT)
                  supervisor who will arrange repairs. There are hand-washing stations as
                  well as sterilizing wipes located throughout the clinic space in close
                  proximity to patient care areas. Medical examination areas have
                  handwashing facilities or hand sanitizer, examination tables, lights for
                  illumination, scales, thermometers, blood pressure monitoring equipment,
                  stethoscopes, otoscope/ophthalmoscopes, pulse oximeter, containers for
                  sharps and biohazardous waste. Personal protective equipment (PPE)
                  such as gloves, eye protection, gowns and masks are available for staff
                  and officers. The exam room in the female dorm is equipped with
                  materials for pelvic examinations. The dental offices and operatory are
                  equipped with hand-washing facilities, a dental examination chair, an
                  examination light, instruments, blood pressure monitoring equipment,




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                  trash containers for sharps and biohazardous waste, PPE and a dentist
                  chair. The DDC and DCJ also have a portable dental x-ray machine.
                  Portable oxygen and oxygen concentrators are available. Wheel chairs
                  and gurneys are available for transportation and emergencies. A fetal
                  heart monitor is available at the DDC and DCJ.
                  Laboratory, radiological, and other ancillary services have a dedicated
                  area which is adequate to hold equipment and records.

                  STERILIZATION OF REUSABLE ITEMS—the jail Medical Unit will send
                  instruments in need of sterilization to the sterilization team at the hospital.
                  The BHCT will be responsible for the transport of the items to the courier
                  when one is working. In the absence of a BHCT the lead/charge nurse
                  will delegate this responsibility.
                   Transport of instruments will take place Monday through Friday. There
                       will be no transport on Saturday, Sunday or holidays. Par levels on
                       instruments have been established to accommodate the weekend.
                   All instruments will be sent in every time items are transported.
                       Both dirty and clean instruments will be sent to keep the count the
                       same at all times.
                   Instruments, clean and dirty, will be placed in the small red transport
                       box. (The clean and dirty are kept separate inside the bin to avoid
                       cross contamination). Once all items are in the boxes the small red
                       transport box will be locked with 2 locking straps (located in the
                       drawer next to the instruments). A transport count sheet will be put
                       inside the box with the “items sent” side filled out and signed by the
                       person packaging the items. This is to be completed inside the exam
                       rooms and only opened at the hospital in accordance with the Denver
                       Sheriff Department requirements.
                   After the box is locked and ready to be transported they are to be
                       taken out to the courier who will call between the hours of 10:30am
                       and 12:00 pm, Monday thru Friday, to let staff know he has arrived in
                       the front of the jail. The courier will not enter the building and health
                       services staff must take the boxes outside to the courier.
                   The courier will then return to Health Service a matching locked box to
                       be taken back to the Medical Unit and opened only in the red room.




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                     Using bandage scissors to cut the straps open the boxes and locate
                      the transport count sheet. As items are removed, check them off on
                      the count sheet and place the items away in their secured location.
                     IF ANY ITEMS ARE MISSING YOU MUST NOTIFY THE HOSPITAL
                      STERILIZATION TEAM (303-602-1230) IMMEDIATELY TO OBTAIN
                      THEIR WHEREABOUTS. If the hospital team does not have the item
                      you must notify the Charge Nurse at the DDC. The Charge Nurse will
                      decide to notify the Nursing Supervisor or designee who will then
                      determine when notification to the Sheriffs occurs and request they
                      begin a thorough search of the Medical Unit/Exam rooms for the
                      items. The hospital should also begin an on-site search. The
                      transport count sheet is to be placed in the BHCT’s box.
                       All items must be accounted for.

                  The Nursing staff complete an instrument count sheet on each shift in the
                  medical area. If any items are missing, the above process must be
                  followed.

                  Dental Instruments-The dentist maintains a separate dental inventory.
                  Dental items are only sent to sterilization for the days the dentist is in the
                  facility. The dentist will count the total number of instruments prior to
                  starting the dental line. Dirty instruments are then placed in the dental
                  instrument box utilizing the dental transport count sheet. Only dirty dental
                  instruments are sent to sterilization. The dentist must ensure the total of
                  dirty and clean is equal to the total count at the start of the shift. The box
                  is then placed in the procedure room for the BHCT to re-verify the number
                  of dirty instruments. The BHCT then secures the dental instrument box for
                  transport out of the facility the next day.

                  Once the instruments return from sterilization the BHCT will count the
                  number of returned instruments and ensure the total number is correct.
                  The items are then placed in their secured location.


                  BUILDING MAINTENANCE—Routine building maintenance is through the




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                  Denver Sheriff Department Maintenance Department. If there are any
                  problems with the building, a work order is to be completed and
                  forwarded to maintenance for correction.

                  SUPPLIES—Health supplies are ordered from Denver Health for the DCJ
                  and the DDC in the following manner:

                     The BHCT at the DCJ and the Radiology Technician at the DDC
                      inventory the shelves in the storeroom/exam rooms and compare the
                      amounts to the established PAR levels at least weekly.
                     A supply request is placed in the on-line Lawson system by the RAD
                      tech no later than Wednesday at 10am. Materials Management (303-
                      602-7100) processes the order.
                     For urgent or STAT orders Central Supply (303-602-7999) can be
                      contacted.
                     Orders filled by Materials Management are delivered on Thursdays
                      with the exception of holiday weeks.
                     Orders filled by Central Supply are filled and either picked up by the
                      Denver Health Courier, BHCT, or the Denver Sheriff Department if the
                      need is urgent.
                     Upon receipt, the delivery is inventoried by the BHCT/RAD tech.
                     Items are restocked in the appropriate labeled place.

                  Emergency Bags- DCJ-Are located in the Medical Unit (Building 4),
                  Building 19, and 24. Building 4 and 24 are inventoried once per shift.
                  Building 19 is inventoried once per day as the room is utilized.
                  DDC-Bags are located in the medical unit and each exam room on floors
                  1,2,4,5 and inventoried once per shift.

                  If at any time the emergency bag seal is broken the bag will be re-
                  inventoried and then resealed.

                  Automated External Defibrillator (AED)- DCJ-Are located in the
                  Medical Unit (Building 4), Building 19, Building 20, and Building 24. The




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DENVER HEALTH                                                  POLICY:
Department of Correctional Care                                NCCHC J-D-03
                                                               Important
DENVER SHERIFF DEPARTMENT FACILITIES                           ACA-4-ALDF-2D-03
                                                               Mandatory
                                                               Obsoletes:
                                                               Prior Jail Medical Policies

                                                               Effective Date: 1-1-22
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   Clinic Space, Equipment and Supplies                        Number of pages: 7


                  AED is checked once per shift except in Building 19 which is checked
                  once per day (Monday-Saturday) as the room is utilized.
                  DDC-AED’s are located in the Infirmary and each exam room on floors
                  1,2,4,5. The AED is checked once per shift.

                  Needles/Sharps-In-Active Needles/Sharps are stored in secured rooms.
                  The cabinets containing needles and sharps are to be locked at all times.
                  The key to the cabinets must be obtained from the Morse key system.
                  Two staff members are required to remove needles from in-active stock.

                  An in-active stock count is completed a minimum of once per week.
                  Active Stock is counted once per shift or as the stock is utilized. Anytime
                  needles are removed from any stock they are required to be accounted
                  for on the inventory sheets.

                  If at anytime the Needle count is inaccurate the staff is required to recount
                  the logs for any mathematical errors. If the error is still unable to be
                  located the above process for missing items need to be followed and an
                  occurrence report completed.

                  Keys- A Morse key system is utilized for the health services staff in the
                  medical units. The system allows for individual accountability through an
                  electronic system. Users are provided a confidential sign on and
                  password which is not to be shared with other employees. The system
                  can track where keys are located as well as provide reports to determine
                  which staff has accessed health service areas. Key sets are programmed
                  to allow assigned staff access only to assigned work areas. The system
                  will assist in increased monitoring of narcotic access and needles.
                  Narcotic, needle, pharmacy, break room, sharps, and medication cart
                  keys will be controlled in the electronic system. Assigned office areas will
                  also be maintained in the system.

                  Health Services reference books are located through the health services
                  areas. Staff has access to on-line resources at any time via the internet.




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DENVER HEALTH                                                   POLICY:
Department of Correctional Care                                 NCCHC J-D-06
                                                                Important
DENVER SHERIFF DEPARTMENT FACILITIES                            ACA 4-ALDF-4C-06
                                                                Non-Mandatory
                                                                Obsoletes:
                                                                Prior Jail Medical Policies

                                                                Effective Date: 1-1-22
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                  Patient Escort                                Number of pages: 4


Rationale:        Access to care is dependent on the patient’s ability to be seen at
                  scheduled appointments in a timely manner. Transfer of health
                  information outside the facility should be done so that confidentiality is
                  preserved.

Policy:           The facility staff ensure patients can meet scheduled health care
                  appointments. Patients will be transported safely and in a timely manner
                  to medical, dental and behavioral health appointments both inside and
                  outside the jail. Referral papers containing health information will be sent
                  in a sealed envelope.

Responsibility:   Denver Sheriff Department
                  Health Services Staff
                  Denver Health

Procedure:        Denver Detention Center
                  In-house Appointments—For patients who are to be seen on the Nurse
                  or provider line, an officer will be provided a list of patients to call to the
                  floor where the patient is housed and request the patient be sent to the
                  Medical Unit or exam room. There is no health information on these lists.
                  If the patient is not brought within approximately 15 minutes, a second
                  call to the housing unit will be made. If the patient is still is not brought a
                  sergeant will be contacted to intervene and bring the patient. If a patient
                  is unavailable, the reason will be noted in the chart and on the list. The
                  patient will be rescheduled. If the patient refuses a refusal will be
                  completed in person.

                  Denver County Jail
                  In-house Appointments—
                  NURSES’ KITE AND TREATMENT APPOINTMENTS—Health services staff
                  create a list from the treatment cards and from the kites scheduled in the
                  portal. There is no health information on these lists. These lists are
                  printed out and given to the Medical Unit officers who distribute them to
                  the buildings. The day of the appointments, the officer staffed in the
                  Medical Unit uses these lists to call patients from the buildings. If there is
                  difficulty in getting a patient to the Medical Unit, supervisory staff assists.
                  If the patient is unavailable for the appointment, this is documentation




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DENVER HEALTH                                                   POLICY:
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                                                                Important
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                                                                Non-Mandatory
                                                                Obsoletes:
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                 Patient Escort                                 Number of pages: 4


                  either on the kite or the treatment card and the patient is rescheduled.

                  PROVIDER APPOINTMENTS—Appointments to see the providers are
                  scheduled on the provider line in the portal. Attempts should be made to
                  place the patient on the line of the provider who he or she has previously
                  seen. The exception to this rule is if the patient has an acute problem
                  and the provider is not available. The remainder of the procedure is as
                  above except that documentation is on progress notes.

                  DENTAL APPOINTMENTS—Appointments to see the dentist are made by
                  scheduling the patients on the Dental Line in the portal. The day prior to the
                  Dental line, a list is printed. The remainder of the procedure is as for the
                  provider list.

                  NURSE PRACTITIONER/CHRONIC CARE APPOINTMENTS—Health Assessments
                  are performed within 14 days of book-in. The callback list is the same
                  procedure as for the provider list. The procedure for Chronic Care Clinics is
                  the same as for the provider list.

                  BEHAVIORAL HEALTH NURSE APPOINTMENTS—The procedure to create the
                  list is the same as for the nurse kite line.

                  Hospital Appointments— If a patient needs to go to the hospital for a
                  clinic appointment, the following will be done:
                   Urgent/Emergent-A nurse will complete a referral form and notify an
                       officer and supervisor of the need for transport.
                   The sheriff department supervisor will arrange the transport by the
                       mode specified by the nurse.
                   If a provider requests a future appointment for a patient seen on the
                       provider line or if a patient returns from the hospital with a request for
                       a follow-up appointment, the following will be done:
                   The request for the appointment will be entered on the Appointment
                       board.
                   The clinic clerk will make the appointment.
                   The officer will arrange the transport for the next morning based on
                       the clinic clerk’s appointments.




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                                                               Important
DENVER SHERIFF DEPARTMENT FACILITIES                           ACA 4-ALDF-4C-06
                                                               Non-Mandatory
                                                               Obsoletes:
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                     If a patient seen on a provider line needs to go to the hospital directly,
                      the following will be done:
                   The provider will notify the officer that the patient must be transported
                      to the hospital that day and of the mode of transportation needed.
                   A nurse will complete a referral form
                   The patient will remain in the Medical Unit until the time of transport
                      when the officer will bring the patient to receiving unless the transport
                      is by ambulance.
                  Future appointments are made as described in Hospital and Specialty
                  Care. The day of the appointments the patients are called to be
                  transported to the hospital via bus/van twice a day dependent upon the
                  time of the appointment. Patients are walked to the clinic appointments
                  accompanied by an officer. Health information is carried by the officer in
                  a sealed envelope and handed to the appropriate clinic personnel.
                  Patients are transported back to the jail.

                  MISSED APPOINTMENTS
                  Patients who miss appointments because of court or other unavoidable
                  conflicts will be rescheduled. If a patient refuses an appointment he/she
                  must come to the Medical Unit/Exam Room to sign a refusal. Attempts
                  will be made to convince the person to accept care. If the patient refuses
                  the appointment once at the hospital, the patient will be counseled by a
                  provider and sign a refusal. The refusal will be sent back in a secured
                  envelope to be filed in the jail medical record. These envelopes go to the
                  clinic clerk who tracks the reasons for missed appointments.

                  MEDICAL TRANSPORT
                  Emergency transport is via the ambulances of the Paramedic Division of
                  Denver Health. Denver Health has a specific Policy and Procedure with
                  regard to the responsibilities of the paramedics to Denver County Jail or
                  Denver Detention Center patient transport. Paramedics are not to refuse
                  transport of a patient once at the Denver Sheriff Department facilities. In
                  addition, paramedics are not to divert a Denver Sheriff Department
                  patient to another hospital, unless the acuity of the problem warrants
                  transport to the nearest facility or the Emergency Department is on divert,
                  without discussing this with the attending physician in the Emergency
                  Department to see if accommodations can be made.




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                                                              Important
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                                                              Non-Mandatory
                                                              Obsoletes:
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                  If an ambulance is needed, health services staff will notify an officer who
                  will summon the ambulance.

                  The providers will determine if a lower level of transport such as non-
                  emergency ambulance, contract ambulance or scout car is available
                  based on acuity.

                  Patients transported out of the facility for health services will have a
                  referral form completed and supporting documents placed in a sealed
                  envelope to be sent with the patient. When a patient is escorted, health
                  staff alerts transporting custody staff to accommodations needed during
                  the transport process, including instructions for administration of
                  necessary medications.




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                                                               Essential
DENVER SHERIFF DEPARTMENT FACILITIES                           ACA 4-ALDF-2A-19,21
                                                               Non-Mandatory
                                                               ACA 4-ALDF-4C-22
                                                               Mandatory
                                                               Obsoletes:
                                                               Prior Jail Medical Policies

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              Receiving Screening                              Number of pages: 5


Rationale:        Receiving screening at intake assures that persons whose personal
                  safety and well-being or who might jeopardize the well-being of others are
                  not admitted to general population. It assures that persons needing
                  continuation of treatment of previously diagnosed health conditions are
                  treated without disruption and patients with previously undiagnosed
                  conditions are rapidly assessed.

Policy:           Screening is performed on all patients upon arrival at the facility to ensure
                  emergent and urgent health needs are met. As part of the initial book-in
                  process, all patients are brought to the Nurses for a Receiving Screening
                  as soon as possible. If upon arrival to the jail, a person appears to have a
                  critical condition, he or she will not be accepted into the jail, but
                  immediately transported via emergency ambulance to the hospital.
                  Health services will stay with the person and attempt to stabilize him or
                  her until the ambulance arrives and the paramedics assume care.

Responsibility:   Health Services Staff
                  Denver Sheriff Department Personnel
                  Denver Health Medical Center Paramedic Staff
                  Emergency Department Health Care Staff

Procedure:        Upon arrival to the Denver Detention Center (DDC), all persons in
                  custody are brought to the book-in area located on the first floor. If upon
                  arrival a person cannot come to the health services exam room by his or
                  her own means, nursing staff will go to the patient with an emergency bag
                  and assess the individual. Reception personnel ensure that persons who
                  are unconscious, semiconscious, bleeding, mentally unstable, severely
                  intoxicated, in alcohol or drug withdrawal, or otherwise urgently in need of
                  medical attention are:
                      a) Referred immediately for care and medical clearance into the
                          facility




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DENVER HEALTH                                                   POLICY:
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                                                                Essential
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                                                                Non-Mandatory
                                                                ACA 4-ALDF-4C-22
                                                                Mandatory
                                                                Obsoletes:
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             Receiving Screening                                Number of pages: 5


                     b) If they are referred to the community hospital and then returned,
                        their admission for the facility is predicated on written medical
                        clearance from the hospital.

                  If the person appears to have a critical condition, the nurse will tell the
                  officers to order an emergency ambulance and stay with the individual
                  and attempt to stabilize until the ambulance arrives. If necessary, the
                  nurse will ask the officers to call for other nurses to assist.

                  The officers have 3 health questions all patients are asked upon arrival to
                  the facility. If any of the answers are a positive the patient is escorted
                  directly to the Nurse.

                          Persons on the first floor for the book-in process will be called
                  individually to the Nurses’ Station. The receiving screening form is
                  approved by the responsible health authority and inquires as to the
                  patient’s:
                      a) Current and past illnesses, health conditions, or special health
                          requirements (e.g., hearing or visual impairment, wheelchair,
                          walker, sleep apnea machine)
                      b) Past infectious disease
                      c) Recent communicable illness symptoms (e.g., chronic cough,
                          coughing up blood, lethargy, weakness, weight loss, loss of
                          appetite, fever, night sweats)
                      d) Past or current mental illness, including hospitalizations
                      e) History of or current suicidal ideation
                      f) Dental problems (decay, gum disease, abscess)
                      g) Allergies
                      h) Dietary needs
                      i) Prescription medications ( including type, amount, and time of last
                          used)
                      j) Legal and illegal drug use (including type, amount, and time of last
                          use)




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DENVER HEALTH                                                  POLICY:
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                                                               Essential
DENVER SHERIFF DEPARTMENT FACILITIES                           ACA 4-ALDF-2A-19,21
                                                               Non-Mandatory
                                                               ACA 4-ALDF-4C-22
                                                               Mandatory
                                                               Obsoletes:
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             Receiving Screening                               Number of pages: 5


                      k) Current or prior withdrawal symptoms
                      l) Possible, current, or recent pregnancy including lactation
                      m) Other health problems as specified by the responsible physician
                  The form also records the intake nurse’s observation of the patient’s:
                      a) Appearance (e.g., sweating, tremors, anxious, disheveled)
                      b) Behavior (e.g., disorderly, appropriate, insensible)
                      c) State of consciousness (e.g., alert, responsive, lethargic)
                      d) Ease of movement (e.g., body deformities, gait)
                      e) Breathing (e.g., persistent cough, hyperventilation)
                      f) Skin (e.g., including lesions, jaundice, rashes, infestations,
                          bruises, scars, tattoos, and needle marks, or other indications of
                          drug abuse)
                  The disposition of the patient (e.g, immediate referral to an appropriate
                  health care service, placement in general population) is appropriate to the
                  findings of the receiving screening and is indicated on the receiving
                  screen form. All immediate health needs are identified through the
                  screening and properly addressed by the nurse.

                  A nurse will interview the patient also inquiring about symptoms and/or
                  conditions including behavioral health, homicidal ideation, current
                  medications and dietary requirements, last menstrual period and
                  pregnancy history, use of alcohol, other substances of abuse history of
                  problems of withdrawal and Prison Rape Elimination Act (PREA)
                  questions. Prescribed medications are reviewed, appropriately
                  maintained and clinically indicated when verified.

                  The nurse will observe the patient’s appearance, behavior, and state of
                  consciousness, ease of movement, breathing, skin and record
                  abnormalities. The nurse will medically disposition the patient as refusal
                  of admission until medically cleared, cleared for general population,
                  cleared for general population with prompt referral to a provider/service
                  and/or referral to appropriate health service for emergency treatment.




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DENVER HEALTH                                                   POLICY:
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                                                                Essential
DENVER SHERIFF DEPARTMENT FACILITIES                            ACA 4-ALDF-2A-19,21
                                                                Non-Mandatory
                                                                ACA 4-ALDF-4C-22
                                                                Mandatory
                                                                Obsoletes:
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             Receiving Screening                                Number of pages: 5


                  Receiving screening forms are dated and timed immediately upon
                  completion and include the name, signature, and title of the person
                  completing the form. Health services staff regularly monitor receiving
                  screenings to determine the safety and effectiveness of this process.

                  Potentially infectious patients are isolated from general population. If a
                  women reports current opiate use, she is immediately offered a test for
                  pregnancy to avoid opiate withdrawal risks to the fetus.

                   Patients arriving from an Emergency Department, Inpatient setting or
                  Ambulatory Surgery shall have vital signs performed as part of the
                  nurse’s evaluation and/or screening. A copy of the discharge summary
                  may be provided or reviewed with the patient by health services and
                  documented in the chart.

                  If during the course of the screening a question of how to proceed arises,
                  the nurse will either place the patient on the next provider line or page the
                  on-call provider for further direction dependent upon the acuity of the
                  situation. For questions of a behavioral health nature, the person will
                  either be referred to the behavioral health nurse or the behavioral health
                  provider on call will be paged.

                  Patients who have disclosed sexual victimization during the screening are
                  referred to psychology who will offer a follow up counseling session within
                  14 days.

                  Documentation of the above will be on a standard computerized form /
                  medical record. Health Services regularly monitor receiving screenings to
                  determine the safety and effectiveness of this process.

                  If special housing, diet or other special needs are identified, they will be
                  noted on the appropriate form.




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DENVER HEALTH                                                  POLICY:
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                                                               Essential
DENVER SHERIFF DEPARTMENT FACILITIES                           ACA 4-ALDF-2A-19,21
                                                               Non-Mandatory
                                                               ACA 4-ALDF-4C-22
                                                               Mandatory
                                                               Obsoletes:
                                                               Prior Jail Medical Policies

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             Receiving Screening                               Number of pages: 5


                  The Emergency Department will call report to the receiving facility for
                  patients being discharged from their care with Head and/or Truncal
                  Trauma. The report note will be placed in the patients chart awaiting the
                  patient’s arrival. Patients with Head and/or Truncal Trauma will be placed
                  on neurological checks for 24 hours.

                  Upon transfer from DDC to Denver County Jail (DCJ) patients are seen
                  by a nurse for an intra-transfer screening as part of the transfer process.




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DENVER HEALTH                                                  POLICY:
Department of Correctional Care                                NCCHC J-E-04
                                                               Essential
DENVER SHERIFF DEPARTMENT FACILITIES                           ACA 4-ALDF-4A-13
                                                               ACA 4-ALDF-4C-24
                                                               ACA 4-ALDF-4C-25
                                                               ACA 4-ALDF-4C-26
                                                               Mandatory
                                                               Obsoletes:
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             Initial Health Assessment                         Number of pages: 3


Rationale:         Patients often do not seek health care prior to incarceration; a health
                   assessment early in the course of incarceration may reveal problems that
                   were previously unidentified. Intervention during incarceration may have a
                   positive effect on the person’s future health and recidivism.

Policy:            Within 14 days of arrival or as soon if possible, patients receive a health
                   assessment as required. Documentation will be on a form approved by
                   the responsible physician.

Responsibility:    Health Services

Procedure:         The health assessment will include:
                    Review of the receiving screening and collection of additional data to
                      complete the medical, dental and behavioral health histories, including
                      any follow-up from abnormal findings obtained during the receiving
                      screening and subsequent encounters.
                    Recording of vital signs including height and weight
                    A physical examination as indicated by the patient’s gender, age, and
                      risk factors. The exam will be performed by a Provider or Registered
                      Nurse (RN).
                    Referral for laboratory tests and/ or diagnostics to detect
                      communicable disease including sexually transmitted diseases and
                      other tests if appropriate
                    Referral for immunizations if appropriate
                    A screening test for latent tuberculosis, unless completed prior to the
                      initial health assessment.
                    Clearance to work
                    In addition, health educational material will be handed out and
                      reviewed with the patient




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DENVER HEALTH                                                  POLICY:
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                                                               Essential
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                                                               ACA 4-ALDF-4C-26
                                                               Mandatory
                                                               Obsoletes:
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          Initial Health Assessment                            Number of pages: 3


                  All health assessments including those with abnormal findings (i.e.,
                  history and physical, screening, and laboratory) are reviewed by a
                  provider

                  The provider or RN ensures specific problems are integrated into the
                  initial problem list. Diagnostic and therapeutic plans for each problem are
                  developed as clinically indicated.

                   Patients will have an annual health assessment and work reexamination
                  every 12 months they are incarcerated.

                  A list of the patients booked into the facility will be maintained in the Jail
                  Management System (JMS) and managed by the Chronic Care RN team.
                  A list of patients due for health assessments will be provided to Health
                  Information Management (HIM) to prepare charts for the next day. HIM
                  staff prepares the receiving screening of patient’s with a negative
                  receiving screen. HIM staff will pull charts if they are on site, order the
                  chart if archived, or create a new record if none exists. Paperwork from
                  the 2nd floor at the Denver Detention Center (DDC) will be placed in the
                  charts in addition to the Receiving Screening.
                  The chronic care nurse reviews the materials and release dates of the
                  scheduled patients. The health assessment is completed on the
                  standardized health assessment form for patients remaining in the facility
                  longer than 14 days. Each patient is provided with an instruction handout
                  on oral hygiene and preventive oral education.

                  When a patient has been in the facility 12 months, the chronic care
                  nurses complete an annual health assessment and reexamination for
                  clearance to work in food services. The results of this examination will be
                  recorded on the standardized health assessment form. The annual health
                  assessment will follow the same guidelines as the book-In health
                  assessment as detailed above, including the TB screening, necessary
                  referrals to medical or behavioral health providers, initiation into the
                  chronic care clinics, work restrictions, as well as other patient education



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                                                              ACA 4-ALDF-4C-26
                                                              Mandatory
                                                              Obsoletes:
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          Initial Health Assessment                           Number of pages: 3


                  deemed necessary. Female patients may be referred to the Women’s
                  Practitioner for an annual pap smear, breast exam, pelvic exam and
                  general blood work.

                  Patients with diarrhea, skin infections, and any other illness transmissible
                  by food or utensils will not be cleared for work in food services. A
                  classification slip will be completed as needed.




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DENVER HEALTH                                                POLICY:
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                                                             Essential
DENVER SHERIFF DEPARTMENT FACILITIES                         ACA 4-ALDF-4C-03
                                                             Non-Mandatory
                                                             Obsoletes:
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 Non-Emergent Health Care Requests And                       Number of pages: 3
               Services

Rationale:        A component of access to health services is the ability to request health
                  services on a daily basis. This allows patients to make the health
                  services staff aware of a health related problem in a timely fashion.

Policy:           Patients’ nonemergent health care needs are met. Each patient
                  incarcerated in the Denver Sheriff Department facilities may request
                  health services assistance daily. These requests are triaged upon receipt
                  and prioritized by acuity.

Responsibility:   Health Services Staff
                  Denver Sheriff Department Officers

Procedure:        Patients request non-emergency health assistance by completing a
                  Request for Medical Services form (medical kite) and placing it in a
                  locked “Medical Kite” box located throughout the facility. The kites are
                  available in the housing units. These kites consist of a two-page carbon
                  copy form. The top of the form has a place for the patient to write his or
                  her name, birth date, book-in number, housing location and health
                  complaint.     The identifying data, but not the health complaint is
                  transmitted to the second page, which is forwarded to accounting for co-
                  pay billing purposes.

                  Kites are picked up by health services staff once per day. The Behavioral
                  Health Tech (BHCT) then triages the kites upon pick up and notes on the
                  triage stamp the acuity of the request. If the complaint appears urgent or
                  emergent, the kite is immediately given to the nurse and the patient is
                  called to the Medical Unit/ Exam Room immediately; otherwise the patient
                  is scheduled by the BHCT for the next day nurses’ kite line for a face to
                  face evaluation in a clinical setting within 24 hours.
                  The second floor kites will be picked up a by the nurse, triaged upon pick
                  up and have a face to face evaluation in a clinical setting the same day.

                  All aspects of the health care request process, from review and
                  prioritization to subsequent encounter, are documented, dated and timed.

                  Patients who request services are seen within 24 hours on the next day




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DENVER HEALTH                                                     POLICY:
Department of Correctional Care                                   NCCHC J-E-07
                                                                  Essential
DENVER SHERIFF DEPARTMENT FACILITIES                              ACA 4-ALDF-4C-03
                                                                  Non-Mandatory
                                                                  Obsoletes:
                                                                  Prior Jail Medical Policies

                                                                  Effective Date: 1-1-22
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                                                                  Review Date: 1-1-23

 Non-Emergent Health Care Requests And                            Number of pages: 3
               Services
                  kite line unless the patient is not available. The reason the patient cannot
                  be evaluated for their sick call request must be documented on the
                  request and the patient will be scheduled to be seen the next day.

                  Responses to the kites are written on the bottom half of the first page.
                  When responding to health services requests, qualified health care
                  professionals provide treatment according to clinical priorities or, when
                  indicated, schedule patients as clinically appropriate. All patients,
                  regardless of housing assignments, have access to regularly scheduled
                  times for nonemergency health services. Patients are given the
                  opportunity to submit oral or written health care requests at least daily.

                  The frequency and duration of response to health services requests is
                  sufficient to meet the health needs of the patient population.

                  CO-PAY—Each kite sent for a non-emergency health treatment is
                  associated with a co-pay of seven dollars as enacted by the City and
                  County of Denver City Council. The City Ordinance is posted in
                  appropriate locations for both facilities.

                            Denver City Ordinance:
                  Sec. 53.513. Charges for medical treatment.
                  (3) Care rendered at the Denver Jail. Except for any visit required the Denver
                  jails during the intake process or an annual physical examination required by the
                  jail, persons who receive medical treatment onsite at a Denver jail clinic will be
                  charged seven dollars ($7.00) on their commissary accounts for each such
                  medical contact. Indigent persons with no commissary balance will receive
                  necessary treatment; however, a negative balance of seven dollars ($7.00) for
                  each contact will be entered on the person’s commissary account and charged
                  against any incoming funds to the account
                  (4) Care rendered at other locations. For all medical services rendered
                  somewhere other than at Denver jails, the person receiving services shall be
                  primarily responsible for the full payment of the cost of medical care.

                  Health Services Kites include a statement about the $7.00 co-pay and a
                  patient signature/acceptance line. Patients who feel that the charges are
                  incorrect may write a grievance to health services requesting a review of




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                                                               Non-Mandatory
                                                               Obsoletes:
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 Non-Emergent Health Care Requests And                         Number of pages: 3
               Services
                  the charges. Sick call requests are seen despite an ability to pay.
                  Health services is not aware of account balances at the time of an
                  encounter and co-pays are not paid to the health services department.

                  Patients are evaluated in a clinical setting when possible.




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DENVER HEALTH                                                 POLICY:
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                                                              Important
DENVER SHERIFF DEPARTMENT FACILITIES                          ACA
                                                              No cross reference
                                                              Obsoletes:
                                                              Prior Jail Medical Policies

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          Nursing Assessment Protocols                        Number of pages: 3


Rationale:        Standardized Nursing assessment protocols and procedures are
                  appropriate to the level of competency and preparation of the nursing
                  personnel and comply with the relevant state practice acts. Protocols
                  assure that significant issues surrounding a specific health problem are
                  addressed. Initiation of treatment at an early stage in the disease
                  process may avoid progression and result in a better outcome.

Policy:           Nurses will assess patients using the Treatment Protocols. If at any time
                  a nurse is uncertain how to proceed, he or she will discuss the patient
                  with a provider or dentist. No treatment should be given for health
                  problems not addressed in the treatment protocols without consultation
                  with a provider or dentist. During nursing orientation, nurses will review
                  the protocols and sign off that they understand proper use. Each nurse
                  will take a quiz on the protocols, as part of their nursing competencies
                  and this will be maintained in the employee’s personnel file. At the time
                  a new protocol is introduced or changed, it will be reviewed at the staff
                  meeting and sent out via email. Nurses sign a sheet documenting that
                  they are familiar with the new protocol. This documentation will be
                  maintained in the educational files by the Clinical Nurse Educator (CNE).

Responsibility:   Responsible Physician and Correctional Care Providers
                  Nursing Management and Staff
                  Clinical Nurse Educator (CNE)

Procedure:        Nursing assessment protocols and nursing procedures:
                     a. Are used by Nursing personnel
                     b. Are appropriate to the level of competency and preparation of the
                         nurses who will carry them out
                     c. Comply with the state practice act in the facility’s jurisdiction

                  The responsible physician will write the treatment protocols. New
                  protocols will be written as requested or revised if the responsible
                  physician feels this is appropriate. Revisions to the protocols will occur
                  based upon factors such as new medical information, new medications
                  for a condition on the formulary or the existing protocol needing updated.
                  New protocols and those that are revised will be circulated to nursing staff
                  so that they may become familiar with them and ask for clarification if



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                                                               Important
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                                                               No cross reference
                                                               Obsoletes:
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       Nursing Assessment Protocols                            Number of pages: 3


                  necessary.
                  The majority of the protocols will be of a decision tree model with different
                  actions taken dependent on variables of the patient’s history and exam.
                  When a provider must be called will be indicated, but nurses are
                  encouraged to call a provider whenever there is any question regarding
                  how to proceed.

                  The protocols and procedures are accessible to all staff via the T drive
                  and/or hard copy books.

                  There is documentation of nurses’ training in use of nursing assessments
                  protocols and procedures based on the level of care provided by the
                  nurse. Documentation includes:
                      a. Evidence that the new nursing is trained and demonstrate
                         knowledge and competency for the protocols and procedures that
                         are applicable to their scope of practice
                      b. Evidence of annual review of competency
                      c. Evidence of retraining when protocols or procedures are
                         introduced or revised

                  The protocols will be reviewed in detail at the time of initial nursing
                  orientation. New nurses are expected to become familiar with the
                  protocols at that time. They must sign that they have completed this.
                  Additionally, nurses are encouraged to refer to the protocols regularly.
                  Annually, each nurse will take a quiz on the protocols to determine
                  competency, which will be kept in their educational files. Nurses who
                  cannot pass the quiz will get additional training from the clinical nurse
                  educator (CNE).

                  Nursing Assessment protocols for non-emergency health care requests
                  include physician ordered medication. Approved assessment protocols
                  pertaining to emergency life-threating conditions (e.g chest pain,
                  shortness of breath) may contain prescription medications and include
                  communication with the provider. Emergency administration of
                  prescription medications requires a provider’s order before or immediately
                  after administration or follows a physician protocol order.




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                                                           Important
DENVER SHERIFF DEPARTMENT FACILITIES                       ACA
                                                           No cross reference
                                                           Obsoletes:
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       Nursing Assessment Protocols                        Number of pages: 3


                  The protocols and procedures are developed and reviewed annually by
                  the nurse manager and responsible physician based on the level of care
                  provided in the facility.




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                                                                Essential
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                                                                Non-Mandatory
                                                                Obsoletes:
                                                                Prior Jail Medical Policies

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  Continuity, Coordination, and Quality of                      Number of pages: 3
        Care During Incarceration

Rationale:        Continuity of care is critical in caring for patients with chronic diseases or
                  with infectious diseases of public health importance. Patient medical,
                  dental and behavioral health care is coordinated and monitored from
                  admission to discharge.
Policy:           As part of the intake screening, information about previous treatment
                  including the name of the previous care provider, clinic or hospital where
                  this care took place will be obtained. Health records will be requested to
                  obtain information about what further evaluation or treatment a patient
                  may need as deemed necessary.
                  While in the facility, attempts will be made to refer patients back to the
                  provider who has been following the patient to further promote a
                  therapeutic relationship. The medical, behavioral health and dental
                  information are recorded in a single health record and the providers of
                  these various services will confer when a patient has multidisciplinary
                  needs.
Responsibility:   Health Services Staff
                  Denver Sheriffs Department
Procedure:        Patients received medical, dental and behavioral health services from
                  admission to discharge per provider recommendations, orders and
                  evidence-based practices. Prescriber orders are implemented in a timely
                  manner.

                        Provider orders are evidence based and implemented in a timely
                         manner.
                        Deviations from evidence-based practice are indicated, clinical
                         justification for the alternative treatment plan while in custody is
                         documented.
                        Treatment plans are modified as clinically indicated by diagnostic
                         tests and treatment results.
                        Diagnostic tests are reviewed by the provider in a timely manner.
                        Treatment plans, including test results, are shared and discussed
                         with patients. Negative findings shall have a lab/radiology letter
                         sent to the patient if follow-up is not necessary.




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  Continuity, Coordination, and Quality of                      Number of pages: 3
        Care During Incarceration
                  For hospitalizations, urgent care, emergency department, or specialty
                  visits:

                        Patients are seen by a qualified health professional upon return to
                         ensure proper implementation of discharge orders and to arrange
                         appropriate follow-up
                        Recommendations are reviewed for appropriateness of use in the
                         correctional environment
                         A provider is contacted in a timely manner to ensure proper
                         implementation of any orders and to arrange appropriate follow-up
                        Chart reviews are done to assure that appropriate care is ordered
                         and implemented and that care is coordinated by health staff,
                         including medical, dental, behavioral health, and nursing.

                  INTRA-JAIL CONTINUITY—with the information provided during the intake
                  screening, nursing staff will attempt to verify medications. In addition, if a
                  patient claims a problem that is currently in the process of evaluation, the
                  nurse will have the patient sign a Release of Information form so that
                  records may be obtained.
                  If the nurse cannot verify medications claimed and the patient has a
                  problem that appears to need these immediately, he or she will contact
                  the provider. Medications verified as current will be continued or
                  substitutions of therapeutic equivalents on the formulary made. The
                  provider will review these during chart signing.
                  Patients transferred to the Denver County Jail (DCJ) will have their Health
                  information transferred:
                   If there is a serious medical concern (such as a suicide watch), the
                      nurse at the sending facility will call the nurse at the receiving facility
                      in order to alert him or her to this patient
                   When the chart arrives at Denver County Jail, the HIM clerk validates
                      charts on the transfer list have arrived. Charts are then provided to the
                      nurses to complete Book-ins and a transfer screening.

                  As part of the transfer process, the patients receive a tuberculosis skin
                  test (if not provided one at the Denver Detention Center (DDC)) and




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                                                              Essential
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                                                              Obsoletes:
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  Continuity, Coordination, and Quality of                    Number of pages: 3
        Care During Incarceration
                  receive a transfer screening by a nurse. The nurse notes this interview
                  on the intra-transfer screening form. All pending encounters (TB, health
                  assessments, provider, dental appointments etc) are rescheduled by the
                  nurse. The chart is then placed in the provider sign pile for review.
                  If a patient is transferred to the DDC for scheduled overnight housing due
                  to an early appointment, a nurse will complete a Referral form stating
                  necessary medications and/or treatments. This form will accompany the
                  patient to the DDC and the nursing staff at DDC will review the form,
                  make any necessary medication administration sheets or treatment cards
                  and deliver care in accordance with these. If a patient is unexpectedly
                  housed at DDC for any reason (court runs late, late hospital appointment,
                  etc.), DDC nursing staff will call Denver County Jail nursing staff who will
                  give a verbal report on the patient.
                  PROVIDER CONTINUITY—when a patient is placed on the provider Line, the
                  nurse will review the chart to see if one of the providers has previously
                  seen the patient. If so, the patient may be reappointed to that provider
                  unless the problem is acute and that provider is not seeing patients that
                  day. Providers may reappoint patients to themselves.

                  BEHAVIORAL HEALTH CONTINUITY—Information regarding diagnosis and
                  treatment is obtained and post-release follow-up is discussed. The
                  Denver Sheriff behavioral health services have developed a collaborative
                  relationship with the Mental Health Corporation of Denver (MHCD).
                  Caseworkers from the MHCD may visit their clients at the jails to arrange
                  to pick them up upon release.




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DENVER HEALTH                                                 POLICY:
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                                                              Essential
DENVER SHERIFF DEPARTMENT FACILITIES                          ACA 4-ALDF-4C-19
                                                              Mandatory
                                                              Obsoletes:
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  Patients with Chronic Disease and other                     Number of pages: 2
               Special Needs

Rationale:        Health outcomes of patients with chronic disease improve when they
                  receive regular care.

Policy:           Patients with chronic disease, other significant health conditions, and
                  disabilities receive on-going multidisciplinary care aligned with evidence
                  based standard are identified and receive treatment. The responsible
                  physician establishes and annually approves clinical protocols consistent
                  with national clinical practice guidelines. These clinical protocols for the
                  identification and management of chronic disease or other special needs
                  include, but are not limited to the following:
                   Asthma
                   Diabetes
                   HIV
                   Hyperlipidemia
                   Hypertension
                   Seizure disorder
                   Tuberculosis
                   Mood disorders
                   Psychotic disorders

Responsibility:   Health Services
                  Chronic Care Nurses
                  Responsible/ Chronic Care Physician

Procedure:        During the receiving screening process at the Denver Detention Center
                  (DDC), patients with chronic diseases and special needs will be identified.
                  Claimed medications will be confirmed or approved.

                  Individualized treatment plans are developed by a physician or other
                  qualified provider at the time the condition is identified and updated when
                  warranted.

                  Chronic illnesses will be documented on the problem list and in the health
                  record. The patient will be referred to the appropriate chronic care clinic.
                  Follow-up appointments will be scheduled per the guidelines. In addition
                  to disease management, patient education on their disease process and




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                                                              Mandatory
                                                              Obsoletes:
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  Patients with Chronic Disease and other                     Number of pages: 2
               Special Needs
                  how they can help manage their disease will be given.

                  If a patient is newly diagnosed with a chronic disease either at the time of
                  the health assessment or later encounters, they will enter the patient’s
                  name on the appropriate chronic disease list and schedule them for an
                  intake appointment. If a provider newly diagnoses a patient, they will
                  write an order to enter the name in the appropriate clinic and refer to the
                  chronic care nurses. Chronic illnesses and other special needs requiring
                  a treatment plan are listed on the master problem list.

                  Documentation in the health record confirms providers are following
                  chronic disease protocols and special needs treatment plans as clinically
                  indicated by:
                       Determining the frequency of follow-up for medical evaluation
                          based on disease control
                       Monitoring the patient’s condition (e.g., poor, fair ,good) and status
                          (e.g., stable, improving, deteriorating) and taking appropriate
                          action to improve patient outcome
                       Indicating the type and frequency of diagnostic testing and
                          therapeutic regimens (e.g., diet, exercise, medication)
                       Documenting patient education on diet, exercise, medication, and
                          adaptation to the correctional care environment as necessary.
                       Clinically justifying any deviation from the protocol

                  The responsible physician will work with the pharmacist to assure that
                  medications needed for the treatment of chronic diseases are available.
                  The chronic care clinic will be responsible for intake, follow-up forms, and
                  patient education materials.

                  The facility maintains a list of chronic care patients.
                  Medical and dental orthoses, prostheses, and other aids to reduce effects
                  of impairment are supplied in a timely manner when patient health would
                  be otherwise adversely affected, as determined by the responsible
                  physician or dentist.




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                                                               Essential
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                                                               Non-Mandatory
                                                               Obsoletes:
                                                               Prior Jail Medical Policies

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             Infirmary-Level Care

Rationale:        Appropriate placement based upon the medical needs of an individual is
                  dependent upon an understanding of the limitations of care that can be
                  provided within the Infirmary beds and medical unit. Infirmary level care,
                  when provided, is appropriate to meet the health needs of patients.

Policy:           DDC: There is medical housing and Infirmary beds at the Downtown
                  Detention Center (DDC). The infirmary beds are appropriate to meet
                  many health needs. The following treatments can be delivered to patients
                  designated as infirmary status -Intravenous antibiotics, pain management,
                  Intravenous hydration, oxygen therapy, contact and respiratory isolation,
                  and wound vacs. Patients in need of additional treatment will be accepted
                  on a case by case basis as determined by the provider staff. Patients are
                  always within sight or hearing of a facility staff member, and a qualified
                  health care professional via the call system which has call buttons located
                  in every room. Staff can respond in a timely manner. The DDC Medical
                  Unit is staffed with a Registered Charge Nurse in the facility 24/7. At least
                  daily the Charge Nurse ensures infirmary care is provided as ordered and
                  documents in the chart. A provider is on-call 24/7 when not available in
                  the facility. Staffing can be adjusted as needed based on severity of
                  illness, number of patients and level of care required. The Nursing
                  Reference Center Plus should be accessed for general information on
                  nursing procedures in conjunction with already established Policies and
                  Procedures. The Nursing Reference Center Plus can be accessed
                  through the following steps 1) Denver Health Pulse Website >Internal
                  Subsites>eLibrary>Nursing items> Nursing Reference Center Plus.

                  There are behavioral health observation cells throughout the facility;
                  however, patients requiring close medical observation should be
                  transferred to the medical unit. The observation beds are designated for
                  medical and behavioral health observation for specific purposes, ie. 24
                  hour neurological checks from the 3rd, 4th, and 5th floor, prevention from
                  eating or drinking before a medical test that requires such a restriction, to
                  allow patients to recover from minor surgeries or medical procedures or
                  behavioral health monitoring.

                  Medical Housing can be utilized for patients with wheel chairs or crutches
                  if unable to function in general population, rule out TB (see protocol), and



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                                                                Non-Mandatory
                                                                Obsoletes:
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              Infirmary-Level Care
                  other reasons health services may deem necessary.

                  DCJ: There are no Infirmary beds in the Medical Unit at the Denver
                  County Jail (DCJ). The Medical Unit at the Denver County Jail functions
                  as medical housing, providing a protective environment for patients who
                  are inappropriate for general population for either medical or behavioral
                  health reasons and do not require 24-hour nursing care. Those patients
                  who require a higher level of care may be transferred to the DDC or
                  Correctional Care Medical Facility (CCMF) at Denver Health.

Responsibility:   Health Services
                  Correctional Care Medical Facility (CCMF)
Procedure:
                  DDC: Admission or discharge from infirmary designation will occur on the
                  order of a provider. Provider rounds will occur five days per week and
                  nursing rounds at least every shift or more often as ordered based on
                  clinical acuity and the categories of care provided. Patient rounds will be
                  documented in the medical record. Infirmary designated patients will have
                  a purple infirmary designation.

                  Infirmary Medical Record-A complete infirmary record is kept for each
                  patient which includes at a minimum:
                        Admitting orders containing the admission diagnosis, medications,
                          diet, activity restriction, diagnostic testing, frequency of vital sign
                          monitoring and any other necessary follow up. ( provider order)
                        Documentation of the care, monitoring and treatment plan
                        Medication administration record
                        Complete documentation of the care and treatment given
                        Discharge plan and order ( provider only)
                  Infirmary records will be maintained on purple paper within the patient’s
                  medical record.

                  The number of qualified health care professionals providing infirmary-
                  level care is based on the number of patients, the acuity of their illness,
                  and the level of care required for each.

                  DCJ: There are beds in the Medical Unit for housing individuals who



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                                                            Non-Mandatory
                                                            Obsoletes:
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             Infirmary-Level Care
                  cannot be placed in general population, but who may require a protective
                  environment and limited nursing care. Patients who have medical or
                  behavioral health needs that cannot be met in the Medical Unit may be
                  transferred to the DDC or CCMF at Denver Health through provider
                  arrangements.

                  If a patient has medical needs that cannot be managed in an infirmary
                  bed, the nurse will contact a provider to arrange admission to CCMF. The
                  provider will determine the appropriate destination within Denver Health
                  (example: direct admission, ED visit, etc) and contact the accepting
                  provider.




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                                                     Obsoletes:
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             Infirmary-Level Care




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                                                             Important
DENVER SHERIFF DEPARTMENT FACILITIES                         ACA 4-ALDF-4D-15
                                                             Mandatory
                                                             Obsoletes:
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                                                             J-I-06 Right to Refuse Treatment
                                                             Effective Date: 1-1-22
STANDARD POLICY AND PROCEDURES
                                                             Review Date: 1-1-23

   Informed Consent and Right to Refuse                      Number of pages: 4


Rationale:        Inherent in the right to medical treatment is the right to refuse such
                  treatment. Patients have the right to make informed decisions regarding
                  health care, including the right to refuse care.
                  Consent for routine care requested by a patient is assumed barring
                  refusal of such care by an individual. Written informed consent is
                  required for invasive procedures. In addition, written consent of a parent
                  or legal guardian is required for individuals under the age of 18 or whose
                  mental capacity requires guardianship except as specified by law or for
                  an emergency when the delay to obtain such consent could adversely
                  affect the outcome.

Policy:           Patients may refuse any health services evaluation, treatment or care.
                  Health services staff will obtain a written refusal of treatment for
                  evaluations or treatment refused. Signing such refusal does not preclude
                  the individual from obtaining such treatment at a later date.

                  Patients will be informed verbally of the risks and benefits of treatment
                  prescribed. Health Services staff will obtain written informed consent for
                  invasive procedures in accordance with Denver Health. Consent for
                  treatment by a parent or guardian will be obtained for individuals under
                  the age of 18 or whose mental capacity requires guardianship except for
                  those treatments excluded for said individuals by law.

Responsibility:   Health Services Staff
                  Denver Health
                  Denver Sheriff Department

Procedure:        All examinations, treatments, and procedures are governed by informed
                  consent practices applicable in the jurisdiction. For procedures and
                  medications that in the community setting would require informed
                  consent, written documentation of informed consent is required.

                   Any health evaluation and treatment refusal is documented and must
                  include the following:
                       Description of service being refused
                       Evidence the patient has been informed of any adverse health
                         consequences that may occur because of the refusal.



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DENVER HEALTH                                                   POLICY:
Department of Correctional Care                                 NCCHC J-G-05
                                                                Important
DENVER SHERIFF DEPARTMENT FACILITIES                            ACA 4-ALDF-4D-15
                                                                Mandatory
                                                                Obsoletes:
                                                                Prior Jail Medical Policies
                                                                J-I-06 Right to Refuse Treatment
                                                                Effective Date: 1-1-22
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   Informed Consent and Right to Refuse                         Number of pages: 4


                        Signature of the patient
                        Signature of the health services staff witness

                  If the patient does not sign the refusal form, it is to be noted on the form
                  by a second health services staff or custody staff witness.

                  If a patient refuses a specific treatment, health services staff will explain
                  the health consequences of such refusal. If the patient still wishes to
                  refuse, health services personnel will have the patient sign a Refusal of
                  Advised Medical Care form, which states the treatment refused and the
                  explained consequences of such refusal. The person obtaining the
                  refusal will sign the form as a witness. In certain circumstances where
                  the consequence of the refusal is significant, others witnessing the refusal
                  will sign the form as well. If a patient refuses treatment and refuses to
                  sign the form, health services staff will complete the form as above and
                  write “patient refuses to sign” and two witnesses to the refusal will sign
                  the form as well. In addition, if the refusal is such that health services feel
                  there is a significant risk to the individual, the patient may be housed in
                  the Medical Unit for observation; however, under no circumstances will
                  this be used as punishment.
                  If a patient in the Receiving Unit awaiting transport to the hospital for an
                  appointment refuses to be transported, he or she immediately will be
                  brought to the Medical Unit where health services staff will explain the
                  importance of the appointment and try to ascertain why the patient does
                  not wish to go. If the patient still wishes to refuse and the need for the
                  appointment is not urgent, health services will obtain a refusal as
                  described above.

                  If health services feel the appointment is critical, the patient will be told
                  that he or she must refuse to the specialist at Denver Health. The patient
                  will be sent back to the Receiving Unit for transport. If while in the
                  Receiving Unit, the patient states that he or she will not go without force
                  to the hospital, the Receiving Unit personnel will return to the patient back
                  to the medical unit to determine housing by health services and obtain a
                  Refusal form.




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DENVER HEALTH                                                 POLICY:
Department of Correctional Care                               NCCHC J-G-05
                                                              Important
DENVER SHERIFF DEPARTMENT FACILITIES                          ACA 4-ALDF-4D-15
                                                              Mandatory
                                                              Obsoletes:
                                                              Prior Jail Medical Policies
                                                              J-I-06 Right to Refuse Treatment
                                                              Effective Date: 1-1-22
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   Informed Consent and Right to Refuse                       Number of pages: 4


                  If a patient changes his or her mind with regard to acceptance of
                  treatment, the treatment will be given.

                  The dentist has patients sign Consent to Treat Form on all individuals
                  scheduled for a dental procedure to be performed at the Denver Sherriff
                  facilities.
                  Providers who perform invasive procedures at the Denver Sherriff
                  facilities will obtain written informed consent prior to performing such
                  procedures.

                  Providers at Denver Health who schedule patients for invasive
                  procedures at Denver Health will obtain written informed consent in
                  accordance with hospital policy.

                  JUVENILE CONSENTS OR CONSENTS FOR MENTALLY INCAPACITATED INDIVIDUALS
                  Upon book-in of a juvenile or a mentally incapacitated individual, a staff
                  member from Operations will contact the parent or legal guardian
                  requesting them to come and sign Consent to Treat form. If the parent or
                  guardian cannot come to the jail to do so, a verbal consent will be accepted
                  with two witnesses hearing the consent and signing the form.

                  If after multiple attempts, a parent or guardian cannot be contacted,
                  receiving will contact the Juvenile Court judge requesting court-ordered
                  permission to treat.
                  Certain juveniles may be deemed emancipated. The term may include but
                  shall not be limited to any such juvenile who has the sole responsibility of
                  his own support, who is married or who is in the military.” The
                  responsible physician after consultation with the legal department will
                  make such determination.
                  In accordance with Colorado State law, individuals over the age of 15 and
                  under the age of 18 may be treated for the following conditions without
                  parental consent:
                   Abortion
                   Sexually transmitted disease
                   Drug Abuse
                   Contraception



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DENVER HEALTH                                              POLICY:
Department of Correctional Care                            NCCHC J-G-05
                                                           Important
DENVER SHERIFF DEPARTMENT FACILITIES                       ACA 4-ALDF-4D-15
                                                           Mandatory
                                                           Obsoletes:
                                                           Prior Jail Medical Policies
                                                           J-I-06 Right to Refuse Treatment
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   Informed Consent and Right to Refuse                    Number of pages: 4


                     Sexual Assault
                     Mental Health
                     Alcoholism
                     HIV Testing




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                                       ABDOMINAL PAIN

   ASK:
           Is the pain present now?
           How long has the patient had the pain?
           Has patient had similar pain in the past? What was diagnosis, treatment?
           What is location of pain?
           What brings pain on?
           What relieves pain?
           Is the patient able to eat?
           Is there any nausea/vomiting?
           Are bowel movements normal? Is patient constipated? Is there any diarrhea?
           What is character of pain?
           Is there a history of previous abdominal surgery?
           Is there any vaginal discharge?
           Are there any urinary symptoms?
           When was the last menstrual period?
           Medication use, particularly NSAIDs.
   EXAM:
           Obtain and record temperature, blood pressure, pulse, and pulse ox.
           Are bowel sounds present?
           Is there any tenderness on examination? Is it diffuse or localized?
           Is there any rebound?
   TREATMENT:
        If vital signs are normal, exam normal and pain is epigastric burning with no other
        complaints;
            Tums/antacid tablets 2 tablets BID for 14 days or if the patient has a documented
            history of taking an H2 blocker medication in the past for this problem, start
            CIMETIDINE (Tagamet) 400mg BID for 14 days. If the patient has a history of

               Recheck on Nurses' Kite List in one week. (Complete treatment card)
               If symptoms are relieved, may continue the medicine begun as above for 30
               days. Tums may be given as a Keep On Person (KOP) medication with the
               KOP card. (All KOP meds need to have a MAR filled out in addition to the
               KOP card.) Patients may have a 150 tablet bottle of Tums as KOP to be reissued
               monthly.
               If there is no relief, document this in the chart and place in the provider sign file
               for the provider to review.
           If pain located in lower abdomen and associated with either vaginal discharge or
           urinary symptoms, refer to appropriate protocol.
           If pain is not currently present, vitals normal and exam normal and problem is not
           constipation, place on next provider list.
           If patient appears acutely ill with or without abnormality of vital signs, notify
           provider on call.


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DENVER SHERIFF HEALTH SERVICES                                                    Name

                                                                                  DOB
PATIENT ASSESSMENT: ABDOMINAL PAIN (G1)
                                                                   Book-in/CD#
S     Is the pain present now Yes No        How long _____________________________________________
      Pain Level 0-10 ___________ Pain location ________________ Hx of same or similar pain Yes No
      What was the diagnosis/treatment __________________________
      Describe the pain________________________________ What makes it better ______________________
      What makes it worse ___________________________ How long since you ate ____________
      What did you eat ________________________________________ Nausea/vomiting Yes         No
      Hx of abdominal surgery No Yes ______________________________
      Urinary abnormalities No Yes __________________________________________________________
      Last BM ____________               Constipation Yes No                 Diarrhea Yes    No
               Vaginal discharge Yes    No N/A             Last menstrual period ________
O     T)          P)        BP)       Pulse Ox)
      Allergies ________________________________________________________
      Current Medications_____________________________________________________________________
      NSAIDs         No       Yes____________________
      Are bowel movements normal Yes No                 Constipated Yes       No      Diarrhea Yes       No
      Bowel sounds present in all four quadrants Yes           No _________________________________________
      Bowel sounds are        Normal       Hyperactive        Hypoactive          Absent
      Rebound pain      Yes     No      Tenderness Yes         No       Diffuse     Localized _____________________
A Patient presents with complaint of abdominal pain _____________________________________________

P            If vital sign and exam are normal and pain is epigastric burning with no other complaints:
         TUMS/antacid tablets, 2 tablets BID for 14 days (follow KOP procedure) OR
         CIMETIDINE (Tagamet) 400mg BID for 14 days (if patient has used H2 blockers for this problem)
      OR
        Prilosec 20mg QD for 14 days, (if patient has used                              for this problem)
         For pain in lower abdomen associated with vaginal discharge or urinary symptoms, refer to appropriate protocol
           If pain is NOT currently present, vitals and exam normal and problem is NOT constipation, place on next provider
      list.
                If patient appears acutely ill with or w/o abnormality of vital signs, notify provider.
      Provider____________________ notified at____________ Orders _________________________________
      ________________________________________________________________________________________
         Treatment card completed for reevaluation in one week: Date: ___________Instruct on treatment card,
      if symptoms relieved, continue meds as above for 30 days. If no relief, document and submit for provider
      review.
E     Patient educated regarding treatment plan and verbalized understanding Yes No ___________________
      ______________________________________________________________________________________

    Signature__________________________________Date___________Time__________ Stamp___________
                                                       June 23,2020
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                                 June
                                 June 23,2020
                                      23,2020
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                                    CHRONIC DISEASE

   There is a Chronic Care Disease Clinic Department (CCC) at the Denver Detention Center
   (DDC) and Denver County Jail (DCJ). This department regularly follows Tuberculosis,
   Diabetes, Hypertension, Seizure Disorder, HIV, Dyslipidemia, Sickle Cell and Asthma. The
   clinics are maintained by the CCC nursing staff and overseen by the Medical Physician
   staff. The CCC staff is also responsible for completing all Health Assessments (HA).

   Scheduling for the appropriate CCC is done by the CCC staff when the HA is done with the
   exception of HIV which is scheduled at Book in. The HA is completed within 14 days of
   Book-in. If the above disease entities are not scheduled for any reason, they can be
   scheduled by any other care provider at any time by referring to the CCC staff or MD
   Scheduling for any CCC. The referral is made via the T drive CCC scheduling log.

   Any patient with an elevated blood pressure is to be scheduled to have blood pressures
   checked every other day for a total of three blood pressures. These blood pressures are to be
   referred to the CCC staff to determine follow up needs. (Except for DDC second floor blood
   pressure values which are reviewed by the MD).

   Diabetics or patients with elevated finger stick blood sugars should be placed on finger stick
   glucose checks BID and referred to the Diabetes CCC. There is a scheduling section for
   diabetes evaluation in each nursing station Diabetes Record. The MD reviews the diabetic
   book weekly.

   See the Tuberculosis Protocol regarding TB screening.

   Patients with HIV/AIDS are referred followed by the HIV CCC team, consisting of a public
   health case coordinator and HIV MD from Denver Health Medical Center. There is an HIV
   clinic onsite every other week at both DCJ and DDC.




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                 Denver Sheriff Department Facilities                               January, 2022




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                  COLDS/UPPER RESPIRATORY INFECTION (URI)
   Note: Patients that present with Upper Respiratory Infection (URI) symptoms should
   be suspected of having COVID-19 and shall be evaluated using the COVID-19
   Respiratory Screening form.
   URI symptoms may be treated with the URI Protocol after completing the COVID-
   19 Respiratory Screening form and following the written plan of care.

                 Use the Upper Respiratory Infection form to document your assessment.
   ASK:
           Rhinorrhea and nasal congestion
           Sore throat
           Cough productive vs. non-productive, color or productive
           Earache
           Pregnancy - (last menstrual period or permanent contraception)
           Purulent nasal discharge.
   EXAM:
           Temperature, blood pressure, pulse, respirations and pulse oximetry reading
           Check throat for enlarged tonsils with exudate (refer to Sore Throat protocol)
           Look in ears for abnormal tympanic membrane if he/she complains of earache
           Listen to lungs for abnormal lung sounds if he/she complains of cough
           Apply pressure over sinuses for facial pain
           Check for purulent nasal discharge
   TREATMENT:
        If, there is no chance of patient being pregnant and exam is negative (for items listed
        in exam), begin treatment with:
          Actifed 1 tab by mouth (PO) twice daily (BID) x 5 days
          ES Tylenol 2 tabs by mouth (PO) twice daily ( BID) as needed ( PRN) x 10 days
          Guaifenesin / DM 1 Tablet by mouth (PO) twice daily (BID) x 5 days, if dry
          cough present.
          Advise salt-water gargle for sore throat, three times daily (TID) as needed (PRN) x
          3 days. (Give enough salt, Keep on Person (KOP) for 3 treatments daily x 3 days.
          Encourage aggressive hydration.
        If patient has purulent nasal discharge with facial pain, productive cough or purulent
        sputum (documented) abnormal lung exam or ear exam, schedule patient on the next
        available provider line.
        If patient is pregnant may have Tylenol, Guaifenesin, and Sudafed 30mg by mouth
        (PO) twice daily ( BID) x 5 days
        If the patient presents with a temperature greater than 101, the patient is to be housed
        in the medical unit. Medicate as above. Complete a treatment card to check vitals
        every shift. Any patient housed in medical who is asymptomatic and afebrile for 12
        hours may return to general population.




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                     Denver Sheriff Department Facilities                           January, 2021




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                 COLDS/UPPER RESPIRATORY INFECTION (URI)
                                            including temperature greater than 103.0, shortness
   of breath, painful breathing, hemoptysis, purulent tonsillar exudates, failure to thrive, mental
   status changes, or other concerning findings, notify provider.




                                                    N1

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                  Denver Sheriff Department Facilities                                January, 2021




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                                            DENVER SHERIFF HEALTH SERVICES                               Name:
                                                                                                         DOB:
                                            COVID-19 INTAKE SCREENING TOOL
                                                                                                         BI#:
                                                                                                         CD#

                                          COVID-19 Screening Questions:

                                           CIRCLE YES OR NO
Complete During Initial Screening




                                           Are you experiencing COVID-19 symptoms such as                    YES       NO     Temperature: ______
                                           fever, cough, or shortness of breath?
                                           Have you been exposed to COVID-19? If yes, where?                 YES       NO
                                           when?
                                           _________________________________________
                                                                                                             YES       NO
                                           Are you homeless?

                                          *Refer to the COVID-19 Respiratory Screening for signs, symptoms, or exposure to COVID-19*



                                          Signature: ____________________________ Date: _________ Time: ________ Stamp: __________
       Complete During Intake Screening




                                           CIRCLE YES OR NO
                                           COVID-19 test scheduled in the portal?                           YES             NO




                                          Signature: ____________________________ Date: _________ Time: ________ Stamp: __________




                                                                                                                                       R: 02/25/2021
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         Denver Sheriff Health Services                             DOB:

                                                                    Book In#:
   COVID-19 Respiratory Evaluation
                                                                    CD#:
Symptoms:
Onset of Symptoms: ___________________________________
New Symptoms    Yes      No Chronic Yes           No
Worsening Yes       No Describe: ________________________
  Fever            Cough             Shortness of Breath
  Fatigue     Myalgia       Sore Throat     Headache     Chills                Nasal Congestion
  GI Symptoms      Other: ___________________________________

Objective:
Temperature: _______Pulse: _______Blood Pressure: ________Respirations: _____ Pulse Oximetry: ______
Supplemental Oxygen in Use:       No Yes at ______ (LPM)       Nasal Cannula          Non Rebreather
Lung Sounds: Left Clear          Diminished    Wheezing  Rales    Rhonchi
Lung Sounds: Right Clear          Diminished    Wheezing  Rales     Rhonchi
Use of Accessory Muscles:       Yes      WNL
Increased Exertion to Breath or Speak:     Yes   WNL
Skin Color: WNL          Cyanotic      Pale
    COVID-19 Test Results: ____________ Date of Test: ____________
Plan:
  Contact the provider for any of the following abnormal vital signs:
      Pulse > 120
      Oxygen Saturation < 90%
      Respiratory Rate > 21
      Blood Pressure < than 80/60
  Provide supplemental oxygen for oxygen saturation < 90% and contact the provider
   Contact the provider to discuss patients with High Risk for                              5, Resident
of a nursing or long term care facility, Immunocompromised Individuals, Chronic Lung Disease or
Moderate to Severe Asthma, Obesity, Underlying Medical Conditions (DM, HTD, CKD, CAD, Cirrhosis),
Pregnant Women
  Name of Provider Contacted: ____________________
   Patient placed in contact isolation and scheduled for COVID-19 testing
         Educate patient to notify staff for worsening symptoms or other concerns

Additional Orders: _______________________________________________________________

Signature___________________________Date___________Time__________ Stamp__________




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          Denver Sheriff Health Services                                 DOB:

                                                                         Book In#:
          COVID-19 Respiratory Screening
                                                                         CD#:


  Symptoms:          Fever       Cough       Shortness of Breath      Fatigue      Myalgia       Sore Throat

  Headache    Chills           Nasal Congestion Runny Nose New Loss of Taste                 New Loss of
Smell  GI Symptoms            Other: __________________________________

                    Onset of Symptoms: _____________________________________________
                       Other: _______________________________________________
                       History of Chronic Respiratory Illness (Describe): _______________________
   Possible Exposure:           Recent Travel Where/When? ____________________________

                                Direct Contact with COVID-19? __________________________
                                Date of Exposure? ______________________________________
  *For recent Travel isolation areas check T drive under: PHI\Denver Sheriffs\A6. Covid-19\Isolation Travel
  Areas*

Are you Homeless?         Yes      No
Exam: Temperature: ______ Pulse Oximetry: ___________ Patient Coughing: Yes                         No


Actions:     * If patient reports COVID-19 symptoms or exposure:
        Place a surgical mask on the patient immediately
Education:      Encourage Fluids/Wear mask as instructed/Proper handwashing
               Educate patients to notify health services staff or the officer if symptoms (fever, cough, or
             shortness of breath) begin or worsen.


Plan:           Contact the charge nurse or lead nurse to review COVID-19 Respiratory Screening
                Contact the provider immediately for any concerns or critical values and document on the
             COVID-19 Respiratory Evaluation
                Complete a classification slip for
                Enter patient into the COVID-19 Log to have SARS COVID-19 PCR (Lab #2025)
             oropharyngeal specimen collected wearing full Personal Protective Equipment.


Signature______________________________Date___________Time__________ Stamp______

   *Patients complaining of worsening symptoms utilize the COVID-19 Respiratory Evaluation*




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                                                                           Name:
 Denver Sheriff Health Services
                                                                           DOB:


                                                                           Book In #:


                                                                           CD#:
COVID-19 Transfer Screening Form
Medical screen

 Denver Sheriff Department is requesting all patients transferring into the Denver Sheriff facilities
 complete a COVID-19 screening. Patients reporting positive symptoms will not be accepted and
 should be isolated and treated per CDC guidelines.



 Temperature:

 Chronic Respiratory Illness:



 Inmate Questions                                 YES     NO      Additional information
 1. Have you been in contact or exposed
 to any person(s) who may have the
 Coronavirus?
 2. Cough


 3. Shortness of Breath


 4. Recent fever




 COVID-19 Test Result- Date:


                                     Positive                   Negative




 COVID-19 Vaccination                           Date received


  Johnson & Johnson

  Moderna Dose 1
  Moderna Dose 2

  Pfizer Dose 1

Q Pfizer Dose 2



 Signature                                         Date                Time                 Stamp


 County


                                                                                                R: 04/13/2021

                                                                                                           10


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      Denver Sheriff Health Services
      COVID-19 Workflow
Employee Self-Monitoring/Screening:
            Staff members shall self-monitor for signs and symptoms of COVID- 19
            If you are experiencing: sore throat, new fever, runny nose, muscle aches or pains,
            fatigue or malaise, new cough, diarrhea, shortness of breath or difficulty breathing,
            nausea or vomiting, abdominal pain, new loss of taste or smell, chills or rigors, or
            headache or other COVID-19 related symptoms complete the COVID-19 Employee
            Survey
            (Red Cap Survey) is to be utilized for new COVID-19 symptoms
            Stay home if you are ill and self-isolate
            Follow the recommendations of your completed COVID-19 Employee Survey and notify
            the Charge Nurse
Intake Screen:
            Patients arriving to the Downtown Detention Center (DDC) shall be provided a mask by
            the Denver Sheriff Department (DSD)
            Intake nursing shall be notified at time of arrival of new detainees and shall complete
            COVID-19 Intake Screening Tool including a temperature as patient enters the DDC
            Patients shall be provided an educational COVID-19 handout by Health Services staff
            A COVID-19 test shall be ordered for each patient by entering the patient into the
            COVID-19 log
            Patients reporting symptoms based on the screening tool shall be isolated in designated
            I- cell
            Patients that present to the intake exam rooms reporting symptoms/possible exposure
            based on the screening tool shall be isolated in a designated I -cell by the DSD upon
            notification
            Symptomatic/possibly exposed patients shall complete the remainder of their medical
            intake and the COVID-19 Respiratory Screening form at the isolation cell
            The symptomatic/possibly exposed patient shall remain in the isolation cell until moved
            to designated housing by uniformed staff
            Uniformed staff shall wear recommended PPE (Personal Protective Equipment) eye
            protection, mask, gloves and protective covering
            A Recommendation for Classification (RFC) slip shall be completed for symptomatic
            and/or patients that report COVID-19 exposure indicating, "contact, droplet, and
            airborne precautions-symptoms"
Intake COVID-19 Testing (Booking Test):
            Place completed screening tools in the patient's temporary chart
            Patients refusing the "Booking" COVID-19 test shall be isolated in "contact, droplet, and
            airborne precautions for 11 days then reoffered testing (see COVID-19 Test Refusals
            below)
            Complete an RFC for patients refusing "Booking" COVID-19 tests indicating "Contact,
            Droplet, and Airborne" precautions
            Booking numbers shall be merged with the patient’s CD# prior to testing
            Behavioral Healthcare Technicians (BHT) shall print the COVID-19 BHT Test Log prior
            to the lab batch times, place the order in EPIC, and collect the test to be sent to the lab
            for the upcoming run
            The COVID-19 Clerical Staff or designee shall enter negative "Booking" test results into
            the COVID-19 log and create an RFC slip indicating "Discontinue Isolation Precautions".




        1                      COVID-19 Workflow                           Revised 01/28/2022

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      Denver Sheriff Health Services
      COVID-19 Workflow
            Positive Results shall be reviewed and entered in the COVID-19 log by the Charge Nurse
            or designee and an RFC shall be created indicating "Contact, Droplet, and Airborne
            precautions + (Positive)"


COVID-19 Screening:
            COVID-19 Intake Screening Tool includes screening questions for COVID-19. A
            temperature shall be obtained
            Transfers between the DDC and Denver County Jail (DCJ) shall be screened the morning
            of the transfer in the patients housing unit using the COVID-19 Transfer Screening
            form.
            Patients that submit medical kites and/or report COVID-19 symptoms will be marked as
            urgent and referred to nursing staff to complete the COVID-19 Respiratory Screening
            form
            Patients shall not be charged for medical kites that contain only reports of COVID-19
            symptoms or requests for COVID-19 lab results
            The Hospital Return POR includes screening for COVID-19 and a recommendation for
            contact, droplet, and airborne precautions in the plan
            Patients sent from the DDC or DCJ for Women's Care appointments or X-Ray shall be
            screened at the sending facility prior to transport and documented on the Intra
            Transport Log.
            Patients scheduled for outpatient visits at Correctional Care Medical Facility (CCMF)
            shall be screened by medical staff prior to transport to Denver Health and documented
            on the CCMF Clinic Transport Log.
            Patients with COVID-19 symptoms, on exposure status, or pending testing shall not be
            transferred without a provider's order
            Patents scheduled for outpatient visits at CCMF that present with COVID-19 symptoms
            shall be scheduled for COVID-19 testing and shall not transfer unless approved by the
            receiving CCMF clinic
            The clinic scheduler shall be notified and contact the CCMF clinic for approval prior to
            transporting


COVID-19 Symptoms and Exposure:
            Patients reporting COVID-19 symptoms including but not limited to fever, cough,
            shortness of breath, new loss of taste or smell, fatigue, myalgia, sore throat, headache,
            chills, rigors, nasal congestion, and GI symptoms or reported exposure shall be given a
            surgical mask. Notify uniformed staff to isolate patient in designated housing
            Medical staff shall wear recommended PPE (mask, eye protection, gloves, and protective
            covering)
            COVID-19 Respiratory Screening form shall be completed, and the patient entered in the
            COVID-19 log
            Symptomatic patients shall be scheduled for a COVID-19 test
            Patients with reported or known exposure shall be scheduled for a COVID-19 test on
            day - 11 from exposure date
            Notify the Charge Nurse at the DDC
            Patients in isolation for exposure that report symptoms shall have their status changed
            in the COVID-19 log to "Symptoms and Exposure" and COVID-19 Respiratory Screening
            form and COVID-19 test completed


        2                      COVID-19 Workflow                         Revised 01/28/2022

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      Denver Sheriff Health Services
      COVID-19 Workflow
            Patients reporting worsening COVID-19 symptoms shall be evaluated utilizing the COVID-
            19 Respiratory Evaluation form and a provider contacted when indicated
            The Charge Nurse or designee shall enter patient information in the COVID-19 log
            located in the Scheduling Portal
            Patients reporting exposure in the absence of symptoms shall not be tested for COVID-19
            without a provider's order
            Testing shall be completed upon report of positive symptoms
            An RFC slip shall be completed indicating contact, droplet, and airborne precautions
            Resolved COVID-19 patients, with positive test results within 90 days, shall not be
            retested or isolated without a provider's order
            Resolved COVID-19 patients, with positive test results greater than 90 days (COVID-19
            Naive) shall be scheduled for a COVID-19 test and isolated for symptoms or upon
            exposure as described above


Isolation Procedure/Personal Protective Equipment (PPE):
            Health Services staff shall wear recommended PPE for COVID-19 patient contact (mask,
            eye protection, gloves, and protective covering)
            Masks are to be worn by health services staff when entering or exiting the facility
            Staff members not in direct patient contact shall wear a surgical mask
            Staff members are required to wear an N95 mask during patient contact
            Homemade masks are not endorsed by Denver Health and shall not be worn at work
            Patients shall be instructed to wear a mask during each interaction with staff
            Staff shall utilize contact, droplet, and airborne precautions during patient encounters
            PH PPE Guidelines
            Uniformed staff shall wear recommended PPE when entering isolation room and/or
            escorting patients out of isolation housing
            Isolation carts are in medical units at the DDC and the DCJ and contain protective
            covering, gloves, eye protection and surgical masks
            Masks may be obtained and signed out from the supply closet in the medical unit
            Health Services shall follow recommendations for donning and removing PPE (mask,
            eye protection, gloves, and protective covering) PPE Refresher
            Protective covering shall not be worn outside of housing units
            PPE shall be disposed of in biohazard containers
            Nursing staff shall place contact, droplet, and airborne precaution signs on patient's cell
            door in the medical units


Health Services - Downtown Detention Center
            Patients from non-COVID-19 units shall be called to the medical exam rooms two
            patients at a time from the same housing unit. There shall be no mixing of patients from
            different housing units
            This shall include one patient on the bench and one patient in the exam room
            At no time shall there be more than one patient waiting on the bench
            Health Services staff may go to the housing unit sally ports to administer missed
            medications, perform simple dressing changes, and other treatments that may be
            completed quickly with a corridor officer standing by to reduce unnecessary movement
            Routine AM and HS medication pass shall be conducted in the housing units next to the
            officer’s desk - not the sally port



        3                      COVID-19 Workflow                         Revised 01/28/2022

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      Denver Sheriff Health Services
      COVID-19 Workflow
            Exposure and COVID-19 positive housing units shall have health services brought to the
            housing unit
            If a treatment must occur in 3 -Medical, medical staff shall provide direction on
            precautions to be taken to the DSD while escorting the patient


Disinfection Process for Equipment:
            Equipment shall be cleaned with purple or bleach wipes after each patient use
            Key sets shall be cleaned with purple wipes or bleach wipes before being placed back
            into the Morse KeyWatcher system
            Workstations and high touch areas (phones, doorknobs, etc.) shall be cleaned with
            purple or bleach wipes frequently throughout the day


Housing Units with COVID-19 Exposure:
            Inform officer in the housing unit that a possible COVID-19 exposure has occurred and that
            patients may notify health services staff or the officer if symptoms begin or worsen
            An RFC slip shall be completed indicating "Contact, Droplet, and Airborne" precautions -
            Exposure and delivered to classifications or the watch commander at the DCJ after hours
            Patient information shall be added or updated in the COVID-19 log as "Exposure" by the
            charge nurse or designated staff
            Resolved positives (< 90 days from positive test) shall not be placed on exposure status


      Additional Exposures
            COVID-19 open housing units, eight-man cells, or two-man cells with additional COVID-19
            exposures shall have exposure dates reset to the most recent exposure
            Resetting exposure dates requires a note in the COVID-19 log as to the reason and the
            name of the patient they were exposed to
            An RFC slip shall be completed indicating an updated exposure date and "Contact, Droplet,
            and Airborne" precautions - Exposure


COVID-19 Testing:

            Personal Protective Equipment (PPE), including eye protection, gloves, protective
            covering, and N-95 mask shall be worn during collection process
            Gloves shall be changed between patients when obtaining multiple COVID-19 tests
            Do not place testing supplies on the patient's bunks/linens to prevent cross
            contamination
            Schedule patients for COVID-19 tests lab order SARS-COVID-19 PCR (Lab # 2025)
            Patients with reported or observed COVID-19 symptoms shall have an Oropharyngeal
            Swab COVID-19 test completed
            Patients housed in isolation for exposure shall have a COVID-19 test completed on day 15
            Court Orders for COVID-19 testing shall be entered into the COVID-19 log under "Court
            Ordered"
            Court ordered test results shall be emailed to the AOC identifying "Court Ordered
            COVID-19 Test" in the subject line




        4                      COVID-19 Workflow                         Revised 01/28/2022

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      Denver Sheriff Health Services
      COVID-19 Workflow
            Court ordered test results shall be provided to the DSD by the Health Information
            Manager or designee
            Patients pending transfer to the Colorado Mental Health Institute of Pueblo (CMHIP) or
            CMHIP satellite facilities shall be isolated by the DSD unless they are in low risk housing
            Patients pending transfer to the CMHIP or CMHIP satellite facilities do not require
            isolation if they are in low risk housing and shall be tested prior to transport
            Patients receiving tests by court order or pending transfers other than those already
            mentioned shall not be isolated unless symptomatic or exposed
            Instructions for collecting COVID-19 Specimens.
            Specimens shall be labeled with patient name, identifiers, and placed in individual
            biohazard bags
            Collected specimens shall be stored in the lab refrigerator
Public Health COVID-19 Testing:

            Public Health shall offer free COVID-19 testing to patients and staff in coordination with
            the DSD
            Positive test results shall be emailed to the charge nurses and administration by Public
            Health
            Charge Nurses shall review their email box throughout the day for positive results, save
            the results to the "Public Health COVID-19 Test Results" folder, and email the group
            indicating results were received
            Positive results shall be documented in the COVID-19 log by the charge nurse or
            designee identifying the test as a Public Health test and follow the COVID-19 workflow
            for positive results
            Patients with "inconclusive" test results shall have an RFC submitted to classifications
            with "Contact, Droplet, Airborne precautions - house alone" and a PCR test scheduled as
            "other" indicating in the notes "inconclusive" test from public health
            Patients with prior positive COVID-19 tests within 90 days shall not be isolated
            Patients requesting COVID-19 test results from public health testing shall be sent public
            health contact information by Health Information Management
Rapid COVID-19 Testing:


            Positive Rapid COVID-19 tests shall have an RFC completed for contact, droplet,
            airborne precautions
            Enter positive results into the COVID-19 log under the rapid test drop down
            Patients with positive rapid tests completed by Public Health shall have a PCR COVID-19
            test completed by Public Health
            PCR COVID-19 test results after positive rapid tests shall be entered in the COVID-19
            log:

                                        Reported
                                            or

                                        Observed
     COVID-19 PCR Test Result          Symptoms             Status                       Action

               Negative                    Yes       Presumptive Positive          No Action Necessary

               Negative                    No           Exposure Status              Notify the AOC
               Positive                    n/a         Remains Positive            No Action Necessary


        5                      COVID-19 Workflow                          Revised 01/28/2022

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      Denver Sheriff Health Services
      COVID-19 Workflow

SARS-COVID-19 PCR (Lab # 2025) - Guidelines


            Within one hour after specimen collection the swab shall be refrigerated
            Within 24 hours after collection the swab shall be transported to the lab
            Specimens shall be transported in a cooler if transport time is longer than one hour
            Specimens shall be transported in batches to the lab four times a day by courier


                                           COVID-19 Labs
                                                   Denver Health COVID-19 Batch
               Time Labs to be Received:                        Times
                         0800hrs                               0900hrs
                         1200hrs                               1300hrs
                         1700hrs                               1800hrs
                         2400hrs                               OlOOhrs



COVID-19 Test Refusals:


            Patients refusing COVID-19 testing shall sign a refusal or have refusal form signed by two
            staff members if patient refuses to sign
            The BHT shall update the COVID-19 log indicting the patient "Refused"
            Patients that refuse testing may submit a medical kite requesting the test to be completed
            Booking, Symptomatic, and Exposure patients that refuse initial and reattempts at
            COVID-19 testing shall complete a 21-day quarantine (11+10) - see table below
            Patients that refuse COVID-19 testing and complete 21 days of quarantine shall be cleared
            to general population-not Low Risk Housing
            A Recommendation for Classification (RFC) slip shall be completed indicating
            "Discontinue Contact, Droplet, Airborne precautions- Cleared to GP - not low risk
            housing".
            The DSD shall be notified when patients pending transfer (DCJ, DOC, El Paso, State
            Hospital, COMM CORR) refuse testing




        6                     COVID-19 Workflow                          Revised 01/28/2022

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           Denver Sheriff Health Services
           COVID-19 Workflow

  -Description of actions for refused COVID-19 Testing
                                                                                                    Action for
                          1st COVID-                                                                 Refusal
   Reason for              19 Test                                               Attempt            Day 26 of
    Testing                Offered              Action for Refusal                Retest          Quarantine

                                           Indicate Refusal in Log; RFC:                        Patient is cleared
                           Day 1 in
     Book-In                                 Contact, Droplet, Airborne           Day 11        to GP - Not Low
                           custody
                                                    Precautions                                   Risk Housing

                           Day 1 of         Indicate Refusal in log; RFC:                       Patient is cleared
   Symptoms                reported          Contact, Droplet, Airborne           Day 11        to GP - Not Low
                          symptoms                  Precautions                                   Risk Housing

                                           Indicate Refusal in Log; RFC:         If patient     Patient is cleared
                          Day 11 of
    Exposure                                 Continue Contact, Droplet,          becomes        to GP - Not Low
                          quarantine
                                               Airborne Precautions            symptomatic        Risk Housing

 Denver County             48 hours
                                           Indicate Refusal in Log; Notify
    Jail (DCJ)             prior to
                                             Classifications CPT or SGT
    Transfers              transfer

 Transfer (DOC,            48 hours
                                           Indicate Refusal in Log; Notify
State Hospital, El         prior to
                                                      the DSD
Paso County, etc.)         transfer

                                           Indicate Refusal in Log; Notify
     E-Meds               As ordered
                                               the Lead Psychiatrist
                           48 hours
                                           Indicate Refusal in Log; Notify
     Surgery               prior to
                                                the Clinic Scheduler
                           transfer


  COVID-19 Test Results:


                  A COVID-19 test (PCR and Rapid Tests) resulted as "Detected" or positive shall be entered
                  in the COVID-19 log
                  Patients with positive COVID-19 tests shall remain isolated for a duration of 10 days
                  An RFC slip shall be completed indicating "contact, droplet, and airborne precautions -+
                  (Positive)" for patients with positive COVID-19 tests and handed to a classifications officer
                  or watch commander after hours at the Denver County jail
                  Positive test results for patients pending transfer to the DCJ or other agencies shall be
                  reported to the DDC Classification CPT or SGT or receiving agency
                  The AOC or designee shall email a daily positive COVID-19 report to the DSD command
                  staff
                  Patients with a positive COVID-19 test shall be provided a result letter by the
                  psychology/social work team with COVID-19 education handout




              7                       COVID-19 Workflow                         Revised 01/28/2022

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       Denver Sheriff Health Services
       COVID-19 Workflow
             The Denver Public Health (DPH] COVID-19 Case Investigation information shall be
             entered into Commcarehq.org for positive results identified at intake by
             psychology/social work
             The COVID-19 log shall be updated by indicating "Yes" in the test information section of
             the portal by psychology/social work after the DPH COVID-19 Investigation form has
             been emailed
             Positive COVID-19 results for patients that have been released from custody shall be
             emailed to Dr. McMillan by the charge nurse or designee
             DPH shall be notified by psychology/social work by email fCovid-19@denvergov.org]
             when patients are released from custody before their COVID-19 test results return as
             positive


High Risk Patients:
             Patients with serious underlying medical conditions, pregnancy, and age greater than
             55 are identified and a list provided to the DSD to work with courts for possible release
             from custody
             Chart reviews are completed by the provider weekly for patients with age greater than
             55 to identify patients at higher risk related to COVID-19
             Patients positive with COVID-19, underlying medical conditions, and an age greater than
             55 years are considered for housing in 3M or Building # 4


Emergency Response to Isolated Patients:


             PPE (protective covering, gloves, N95 mask, and eye protection] are donned prior to
             contact with patients in isolation precautions.   PPE (N95 masks, protective covering,
             and eye protection] has been placed with the E-Bags.
             Emergency response teams shall consist of three responding staff members for
             designated isolation housing areas
             Additional medical assistance shall be announced if needed
             Patients with exacerbated COVID-19 symptoms shall be evaluated utilizing the COVID-19
             Respiratory Evaluation form and contact a provider


Medication Administration:


             Recommended PPE (protective covering, gloves, mask, eye protection] shall be worn
             during medication administration to patients in isolation housing
             An announcement shall be made in the housing units before the beginning of each
             medication administration for patients to report to the nurse or submit a medical kite if
             they are experiencing signs or symptoms of COVID-19
             A new protective covering shall be used for each isolation housing unit
             Medications shall be passed to the patient using the medication envelopes at the DDC
             and cups at the DCJ
             Medication administration envelopes and cups shall not be collected from patients to
             prevent cross contamination
             After each use the medication administration box and tray shall be wiped down with
             bleach or purple wipes


         8                     COVID-19 Workflow                          Revised 01/28/2022

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       Denver Sheriff Health Services
       COVID-19 Workflow
             Patients shall be instructed to wear their mask during medication administration
             Medication shall be given to the patient; the nurse shall step back, and patient will be
             instructed to take the medication
             Inhalers shall be given as Keep On Person (KOP) medications
             The provider shall be consulted to review Flonase or other medications that could pose
             cross contamination risks


    Housing Type                             Method                              Location/Notes


  Single/Two Person
         Cells                           Envelopes/Trays                             Cell Side


                                                                            One Eight Man Group at a
   Eight Person Cells                    Medication Cart                               Time


    Open Housing                         Medication Cart                          Officer's Desk




Clearing Patients from Isolation:

             A negative   COVID-19 test is required to remove contact, droplet, and airborne
             precautions for both exposure and symptomatic patients
             A COVID-19 test date shall be generated by the COVID-19 log on the patient's reevaluation
             date
             Patients with negative COVID-19 tests previously on "Exposure" isolation status now on
             "Symptoms/Exposure" status shall remain in isolation 10 days from their initial reported
             exposure and have a COVID-19 test completed on day 11
             Complete an RFC clearing the patient from isolation
             precautionsfcontact/droplet/airborne) and the reason for the isolation: Symptoms,
             Exposure, or Booking
             Update the COVID-19 log



Resolving Patient's with Positive COVID-19:

             Patients with positive COVID-19 tests shall remain isolated for a duration of 10 days
             On Day 11 from the positive test collection date patients shall have an RFC completed

             stating "Discontinue Contact, Droplet, and Airborne precautions for Resolved + Low
             Risk Housing"
             Patients on a Carry Over (COVJ status at the hospital shall not be resolved until their
             return. A note shall be entered in the COVID-19 log indicating their COV location.
             Update the COVID-19 log by dispositioning the patient as "Resolved"
             Patients with prior positive COVID-19 tests within 90 days shall be tested by provider
             order only




         9                     COVID-19 Workflow                          Revised 01/28/2022

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      Denver Sheriff Health Services
      COVID-19 Workflow
Emergency Transport:
         When possible notification of a suspected or positive case of COVID-19 shall be provided
         to Emergency Medical Services (EMS) dispatch at the time of the ambulance transport
         request
         Notification of the same shall be provided to the Transfer Center prior to the patient
         leaving the jail
         Patients shall be given a surgical mask for transport


COVID-19 Transfer Screening Correctional Facilities:
         Receiving correctional facilities shall be notified by the DSD that the patient may have
         been potentially exposed to or tested positive for COVID-19 and/or isolation
         precautions
         Transfers departing the DDC or DCJ to other correctional facilities shall have the COVID-
         19 Transfer Screening form completed
         Washington County has requested their specific form be used for COVID-19 screening
         The State Hospital has requested their specific COVID-19 screening form be completed
         and emailed for review prior to transport. The State Hospital will not schedule
         transport until their form has been received
         The DSD shall send pending transfer notifications in advance by email to
         DSDChrgNurses@dhha.org and DSD HIM@dhha.org to initiate COVID-19 testing
         Health Information Management (HIM) shall email or fax the completed screening form
         and test results to the receiving facility
         The DOC (Department of Corrections) shall have the DOC Clinical Information Transfer
         Form completed and faxed 48 hours prior to transfer
         The DSD shall email the "Release List" the night prior to DSDChrgNurses@dhha.org
         and DSD HIM@dhha.org to initiate COVID-19 transfer screening
         Patients presenting with symptoms of COVID-19 shall be provided with a mask and
         placed in isolation (see workflow above for Positive Symptoms and Isolation)




        10                  COVID-19 Workflow                          Revised 01/28/2022

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       Denver Sheriff Health Services
       COVID-19 Workflow
          The below table lists facilities that require COVID-19 testing prior to transport:


                                              Testing Time
    Receiving Facility     Log Entry            Frame to        HIM to Send Results/Clearance
                                                Transfer
                                               < 48 Hours
    Denver County Jail        "DCJ"              prior to         Reviewed with the Class SGT
                                                transfer
                                              < 7 days prior       dweatherwax@wellpath.us
    Adams County Jail       "Adams”
                                               to transfer          MJ Gillespie@Wellpath.us
                                               < 48 Hours
     Arapahoe County                                                      Fax Results
                           "Arapahoe"            prior to
              Jail                                                       720-874-3757
                                                 transfer
                                              < 7 days prior
    Douglas County Jail     "Douglas"                             Ryan.Kitzman@denvergov.org
                                               to transfer
                                               < 48 Hours
                                                                          Fax Results
    El Paso County Jail     "El Paso"            prior to
                                                                         719-390-2168
                                                 transfer
                                                  Upon
                                              Notification of             Fax Results
    Lincoln County Jail     "Lincoln"
                                                 pending                 719-743-2392
                                                Transfer
                                               < 48 Hours
                              "State
      State Hospital                             prior to       cdhs cmhipadmissions@state.co.us
                            Hospital"
                                                 transfer



          Resolved COVID-19 patients, with positive test results within 90 days, shall not be
          retested without a provider's order and shall have a copy of their "Positive Resolved"
          form sent in lieu of test results
          Resolved COVID-19 patients, with positive test results greater than 90 days (COVID-19
          Naive), shall be retested prior to transfer
          Staff shall review stamp, sign, and date COVID-19 screens received from other facilities
          and place in the patient's chart or HIM for filing


Patients Releasing from Custody in Isolation or Restricted Housing:


          When patients are being released the DSD shall contact the assigned social worker or
          psychologist notated on the integrated schedule to initiate discharge planning
          Patients identified as homeless or require additional resources will be coordinated by
          the psychology department
          Patients released with pending COVID-19 tests shall be provided the COVID-19 Results
          phone number (720-337-0346) by the social work/psychology team to call for test
          results
          Patients requesting results over the phone shall be required to provide their name, CD #
          date of birth and password before results are released


         11                  COVID-19 Workflow                           Revised 01/28/2022

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       Denver Sheriff Health Services
       COVID-19 Workflow
           The psychology team provides a COVID-19 educational discharge packet
           The social work/psychology team member completing the discharge planning shall
           obtain the patients phone number and address if available and document in the COVID-
           19 log for patients that have positive COVID-19 results
           The assigned social worker or psychologist will coordinate with the DSD to obtain
           public health isolation orders for a COVID-19 positive patient
           If unable to reach the assigned personnel for discharge planning or after hours contact
           Dr. Brad McMillan
           Patients being released from isolation cells with suspected or confirmed COVID-19 shall
           receive the "COVID-19 Release Packet" and "Home Quarantine Instructions” on how to
           self-isolate and standard precautions
           The psychology /social work personnel shall enter detailed discharge information and
           release of the patient in the COVID-19 log and document on a POR


Social Distancing:


           Maintain social distance 6 feet from your coworkers and patients when possible
           Limit four staff members in sally port
           Two staff members in elevator
           Staff shift huddles shall be held in the patient waiting area to allow social distancing
           Call Team Members to discuss patient care
           Minimize traffic through the nurse's stations in 3M and Building # 4 by using alternate
           routes as posted on doors
           Minimize the number of staff in 3M and Building # 4 nursing stations
           Notify Health Information Management (HIM) by phone to request charts
           HIM staff will place charts outside their door
           Limit two staff members in break rooms


                  *A11 work-flow inquiries shall be referred to the AOC*




         12                    COVID-19 Workflow                         Revised 01/28/2022

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      Denver Sheriff Health Services
      COVID-19 Workflow


             -Description of Forms
                    Name of Form                       Indication for Use


                                               Used during the initial COVID-19
         COVID-19 Intake Screening Tool        intake screen at the DDC


                                               Used when patients report exposure
                                               during intake or symptoms
                                               throughout the duration of their
         COVID-19 Respiratory Screening        stay


                                               Used to evaluate patients reporting
                                               worsening or severe COVID-19 like
         COVID-19 Respiratory Evaluation       symptoms




        13                 COVID-19 Workflow                      Revised 01/28/2022

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       Denver Sheriff Health Services
       COVID-19 Workflow


       -Recommendations for Classification (RFC)
                                                      RFC Wording

  Indication for RFC     Placing COVID-19 Precautions               Removing Precautions

                       Contact, Droplet, Airborne           Discontinue Contact, Droplet,
     Symptoms          precautions - Symptoms               Airborne precautions-Symptoms

                       Contact, Droplet, Airborne           Discontinue Contact, Droplet,
      Exposure         precautions - Exposure Date,         Airborne precautions-Exposure

  Re-exposure (prior   Contact, Droplet, Airborne           Discontinue Contact, Droplet,
  to being cleared)    precautions - Exposure Date,         Airborne precautions-Exposure

                                                            Discontinue Contact, Droplet,
                       Contact, Droplet, Airborne
  Positive COVID-19                                         Airborne precautions-Resolved
        Test           precautions - +                      Positive - Low Risk Housing

  Pending Transfer     14 Day Quarantine for Pending
      to CMHIP         CMHIP Transfer                       n/a

 Booking, Exposure,                                         Discontinue Contact, Droplet,
    and Symptom        Contact, Droplet, Airborne           Airborne precautions-Cleared to
       Refusal         precautions                          GP - Not Low Risk Housing

                                                            Discontinue Contact, Droplet,
    Booking Test       n/a                                  Airborne precautions-Booking

    DCJ Transfers      n/a                                  COVID-19 Transfer Test Negative




          14                  COVID-19 Workflow                          Revised 01/28/2022

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     CRITICAL VALUES, VITAL SIGNS AND OTHER INDICATIONS
                 FOR PROVIDER NOTIFICATION

   A PROVIDER WILL BE NOTIFIED IMMEDIATELY FOR THE FOLLOWING VITAL SIGNS/VALUES
   AND SIGNS OR SYMPTOMS:

   Temperature:
        Elevated > 101.3 (unless associated with all other positive indicators of strep throat
        or obvious viral syndrome: headache, myalgias, malaise sore throat, non-productive
        cough).
        Stiff neck with fever
        Photophobia with fever
        Maintain in the Medical Unit, encourage fluids, offer Tylenol 1000 mg PO till fever
        resolved and recheck every 4 hours.(Create a treatment card)

   Blood Pressure:
          Systolic > 200 or Diastolic > 120. If blood pressure is less than 80/60 (unless a
          known normal for this person and he/she is asymptomatic)

   Pulse:
            Pulse >120. Note: if the patient is being treated for alcohol withdrawal with a heart
            rate of >120 refer to the ETOH withdrawl protocol for treatment.
            If pulse < 45 and the patient is symptomatic call provider.
            If patient is asymptomatic, obtain an EKG with rhythm strip, schedule patient in the
            portal for provider chart review the following day.
   Orthostatic Changes:
         Drops of 20 mm/hg of blood pressure or rises of 15 beats/minute of pulse should be
         called to provider. The pulse will show changes before the blood pressure; therefore
         the provider should be notified if there is a significant change in pulse even if
         unaccompanied by a change in blood pressure.
   Respiratory Rate:
         Rate > 25
   ALL OF THE ABOVE VITAL SIGNS SHOULD BE RECHECKED EVERY 2 HOURS UNTIL
   THEY RETURN TO NORMAL OR AS OTHERWISE ORDERED BY A PROVIDER
   Glucose Finger Sticks:
         < 50 or > 400. Call for blood sugars > 400 or per sliding scale orders.
         Refer to the diabetic protocol.
   Pulse Oximeter:
          < 90%
   Laboratory Tests:
         Any value called from the laboratory as a critical value must be called to a
         provider and documented in the medical record.
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     CRITICAL VALUES, VITAL SIGNS AND OTHER INDICATIONS
                 FOR PROVIDER NOTIFICATION

   SIGNS AND SYMPTOMS
   Change in Mental Status: Deterioration in mental status such as decreased level of
   consciousness, decrease in level of orientation, etc.
   New onset incontinence in the absence of a seizure
   New onset of hallucinations in the absence of withdrawal




                                                   A2



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                                            DIARRHEA
   Diarrhea (greater than 4 loose, watery stools per day) is generally a mild, self-limited viral
   illness; however, since there are a multitude of other causes, the following guidelines should
   be followed:

   Ask:
           How long have you had the problem?
           When did it start?
           Are stools bloody?
           Is frequency greater than 4 per day?
           Are there any other accompanying symptoms? Nausea, vomiting, dizziness,
           jaundice, pain, fever?

   Exam:
           Temperature, pulse and blood pressure including orthostatic if more than 4
           stools/day or patient complains of dizziness.
           Check skin for rash or jaundice.
           Are bowel sounds present?
           Is there any tenderness on examination? Is it diffuse or localized?
           Is there any rebound?

   Treatment:
         No kitchen work-complete a classification slip
         If there is a question of hepatitis, refer to Hepatitis protocol.
         House in the Medical Unit (Denver County Jail) or Medical Unit (Denver Detention
         Center) for observation if nurse has a concern or schedule to see back on nurses kite
         line (NKL) in 3 days to check for resolution and clearance to return to work.
         Refer to MD, if there is fever, orthostatic changes, more than 6 stools per day or if
         diarrhea persists more than 4 days, or there is blood in the stools.




                                                   G3
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DENVER SHERIFF HEALTH SERVICES                                                        Name

                                                                                      DOB
PATIENT ASSESSMENT: DIARRHEA (G3)                                                     Book-in/CD#


S
      Last bowel movement                          Frequency of bowel movements

      Symptoms          Nausea         Vomiting         Jaundice            Fever      Bloody Stools           Dizziness

      Pain and/or cramping Yes         No     Pain Location:       LUQ          RUQ         LLQ         RLQ

      Pain Level 0-10                     Duration/start date                          Other

o     T)        P)       BP)


      If > 4 stools/day or pt c/o dizziness obtain orthostatic vitals


      Lying               BP              P

      Sitting             BP              P

      Standing            BP              P



      Skin:       Dry     Rash          Jaundice        Pale        Diaphoretic

      Bowel sounds x 4 quads:          Normal       Hyperactive        Hypoactive      Absent

      Tenderness:       Yes       No     Diffuse     Localized                Rebound pain:       Yes     No

      Allergies

      Current Medications

A
      Findings and symptoms consistent with Diarrhea        Yes        No

P      Diarrhea, (greater than 4 loose, watery stools per day) is generally a mild, self-limited viral illness. Because
                               there are multiple causes the following guidelines should be observed.


                                  PATIENT CANNOT WORK IN THE KITCHEN
                           *If there is any question of possible hepatitis, refer to Hepatitis protocol*


           House in the Medical Unit for observation OR


           Schedule on nurse kite line in 3 days to check for resolution & clearance to return to work
      Apt date:


      Refer to MD if:     Fever     Orthostatic changes        > 6 stools/day       Diarrhea > 4 days      Bloody Stools
      MD apt date


E     Patient educated regarding treatment plan and verbalized understanding Yes                  No




    Signature                                                   Date                 Time                Stamp




                                                                                                                    28
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                                           HEADACHE
   ASK:
           Is this a chronic problem? If yes, what is the usual treatment?
           Is this similar to other headaches patient has had?
           What is the character of the headache throbbing, stabbing, etc?
           When does the headache occur?
           What is the location of the headache, ie frontal, occipital, etc.?
           Are there associated symptoms i.e. photophobia, nausea, visual disturbance, sinus
           drainage, weakness, paraplegia?
           Has there been any head trauma acute or in the past?

   EXAM:
           Take blood pressure, pulse, respiratory rate and temperature.
           Is there a new facial asymmetry?
           Are pupils equal and reactive?
           Is there any localized weakness?
           Can patient put chin to chest?

   TREATMENT:
        If patient is afebrile with normal vital signs and no abnormalities on physical exam,
        give Ibuprofen 800mg or Tylenol 1000mg twice daily (BID) for three days. If no
        relief within 3 days, place on MD line. (If headache is associated with a upper
        respiratory infection (URI), refer to URI protocol)
        Patients with history of migraines should be continued on any medications for their
        migraines that have been verified (with substitutions as per protocol).
        If patient has fever, (temperature >38.3 C/101 F), elevated blood pressure and/or
        abnormalities on physical exam, MD on-call should be notified.
        HIV-positive patients with a history of chronic headache should be referred to MD.

           Imitrex is the main abortive treatment for migraines. Imitrex is given to patients if
           it is ordered by the Denver Sheriff Health Services MD as a standing prn order or as
           a one time order. It can be given if verified as being prescribed by an outside
           physician. It may also be given as the medication substitution for verified migraine
           headache treatment that our facility does not stock.
           Imitrex is not given to patients with elevated blood pressure (BP>160 systolic or >95
           diastolic). It is not given to treat diagnosed hemiplegic or basilar migraines.

           Standard treatment with Imitrex is as follows:
            Be sure that the patient is not hypertensive (BP>160 systolic or >95 diastolic) or
            pregnant. Do not give Imitrex within 24 hours of patient receiving ergotamine
            (Cafergot).
              Initial dose: 50 mg orally, repeat after 2 hours if needed.
              Maximum dose is 200mg per 24 hours.
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                                            HEADACHE

            Tell patient to report any of the following:
              Pain in chest or throat. If this is severe or does not go away, notify an MD
              immediately.
              Shortness of breath; wheezing; heart throbbing; swelling of the eyelids, face or
              lips; or a skin rash, skin bumps, or hives happen rarely. If this occurs, do not
              administer any more medication. Note this on the chart and notify an MD.
              Some people may have feelings of tingling, heat flushing, heaviness or pressure.
              A few people may feel drowsy, dizzy, tired or sick. If these occur, document in
              the progress notes and place on the MD line of the ordering physician.
              Pain or redness at the injection site usually lasts less than an hour.


   Imitrex can be given in the nursing exam rooms at the DDC and the patient sent
   back to his cell once he/she has been counseled on the possible adverse effects
   (above). For patients at the County Jail, the patient must be housed in the medical
   unit for 2 hours prior to returning to his/her cell.




                                                  D10
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DENVER SHERIFF HEALTH SERVICES                                              Name

                                                                            DOB
PATIENT ASSESSMENT: HEADACHE (D9 & 10)
                                                                            Book-in/CD#


S
    Is this a chronic problem    Yes       No     Location (frontal, occipital, etc.)__________________________
    Pain Level 0-10 _______ Describe pain (throbbing, stabbing, pressure, etc.) ______________________
    _____________________________________________________________________________________
    If yes usual treatment ____________________________________________________________________
    Similar to previous headaches        Yes    No When does the headache occur __________________________
    Any associated symptoms (photophobia, nausea, visual disturbance, sinus drainage, weakness, paraplegia, etc)
    No Yes _______________________________________________________________________________
    Recent or past head trauma No Yes _______________________________________________________
                                If headache associated with URI, refer to URI protocol
O
    T)       P)        BP)          R)
    Allergies _____________________________________________________________________________________
    Current medications ____________________________________________________________________________
    New facial asymmetry Yes ____________________ No
    Pupils equal and reactive Yes        No __________________      Localized weakness     Yes No
    Can patient put chin to chest Yes No Other findings ___________________________________________
    ________________________________________________________________________________________

A   Patient presents with signs/symptoms of a headache

P
    Notify MD if temperature >38.3 C or 101 F, elevated blood pressure or abnormalities on physical exam
    MD _____________ notified at _________ Orders _______________________________________________
    ________________________________________________________________________________________

                          Afebrile, normal vital signs, no abnormalities on physical exam
    Ibuprofen 800mg or Tylenol 1000mg BID for 3 days.               Treatment card completed for f/u evaluation in 3
    days, with instructions to place on MD line if no relief after 3 days.

    HIV-positive inmates with a history of chronic headache should be referred to MD. Appt. ________________

    Patients with history of migraines should be continued on verified migraine medication (substitutions per
    protocol)


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DENVER SHERIFF HEALTH SERVICES                                           Name

                                                                         DOB
PATIENT ASSESSMENT: HEADACHE (D9 & 10)
                                                                         Book-in/CD#



                                                         Imitrex
       Imitrex is given as a standing PRN order or a one time order if ordered by Correctional Care MD
       Imitrex is also given if verified and current through an outside physician
       Imitrex is not given to patients with elevated blood pressure (BP>160 systolic or >95 diastolic)
       Imitrex is not given to treat hemiplegic or basilar migraines
       Standard treatment with Imitrex is as follows:
               Assure patient is not pregnant or hypertensive (BP>160 systolic or >95 diastolic)
               Do not give Imitrex within 24 hours of patient receiving ergotamine (Cafergot).
               Initial dose: 50 mg orally, repeat after 2 hours if needed
               Maximum dose is 200mg per 24 hours

    Tell patient to report any of the following:
        Pain in chest or throat. If severe or ongoing, notify MD immediately. MD _______________notified at
        _________ Orders _____________________________________________________________________
        _____________________________________________________________________________________
        Shortness of breath, wheezing, heart pounding, swelling of the eyelids, face, lips, rash, skin bumps, or
        hives happen rarely. If this occurs, do not administer any more medication. Document reaction and
        notify MD. MD ________________notified at ________ Orders ________________________________
        _____________________________________________________________________________________
        Tingling, heat flushing, heaviness, pressure, drowsiness, dizziness, fatigue, or nausea. If these occur,
        document and place on the MD line with ordering physician.
        Appt _______________

    Imitrex may be given at                                      send patient back to cell once he/she has
    been counseled on possible adverse effects as noted above. At the County Jail, patients must be
    housed in the medical unit for 2 hours prior to returning to his/her cell.
E   Patient educated regarding treatment plan and verbalized understanding Yes No ____________________
    ________________________________________________________________________________________


Signature______________________________________Date___________Time__________ Stamp




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                                       HYPERTENSION

   Patients with a diagnosis of hypertension and anti-hypertension medication
   confirmed will be continued on their medication. Blood pressure readings should be
   checked every other day x 3. All patients with a hypertension diagnosis should be
   scheduled with the next available Hypertension CCC upon book-in.

   Trustees at PADF/Book-in with are not scheduled with the DCJ Hypertension CCC.
   They are to be offered the opportunity to transfer to DCJ

   Upon transfer to County Jail, if the patient has only hypertension as a problem, put on NP
   line. If the patient has additional medical conditions, put on MD line.

   Once it is determined that the patient will not be hypotensive on their medication
   regimen, start BP checks as listed below. Patients with good BP control (<140/<90
   mmHg) should be scheduled with the NP or MD within one month.

   Patients with newly discovered hypertension:

   At PADF/Book-in: If BP is >200/>120, notify the physician on call.

           If BP is >180/>110 mmHg, put on MD line. If the patient complains of head-
           ache, visual problems or chest discomfort, notify the physician on call.

           If BP is >160/90 mmHg, re-check QOD X 3, unless the patient is on the Opiate or
           Alcohol Withdrawal Protocol. Then re-check per protocol. If the BP remains
           high after the withdrawal protocol is ended, refer chart with blood pressures to
           MD chart review.


   At DCJ/ DDC:           If BP is >200/>120, notify the physician on call.

           If BP is >180/>110 mmHg, put on next available Hypertension CCC line for
                          evaluation.

           If BP is >140/90 mmHg, re-check every weeks X 3, and then put on next
                          available Hypertension CCC line for evaluation.


   After patients have been started on a therapeutic regimen, BP will be checked once a
                                                                         eviewed at the time
   of medication renewal.

   Laboratory tests and further studies will be determined by the NP/physician.


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                               MEDICATION GUIDELINES

   DURATION OF TREATMENT:
         Antibiotics are for 7 days unless otherwise ordered.
         Medications for chronic disease are for 3 months with a provider review for
         renewal unless otherwise ordered.
         NSAID given for an acute clinical care are for 3 days unless otherwise ordered.
   MISSED MEDICATIONS:
         Patients who consistently miss critical medications should be counseled regarding
         taking medications properly and a notation this was done should be documented on
         the Medication Administration Record (MAR) or                    chart.
         If the patient continues to miss medications after counseling and may be at risk for
         an adverse outcome, the patient information should be documented on a Problem
         Orientated Record and the chart should be placed for provider review.
   CRITICAL MEDICATIONS ARE:
         Antiepileptic medications
         Antibiotics
         Anticoagulants
         Antihypertensives
         Anti-retrovirals
         Cardiac medications
         Insulin
         Psych medications

   TIMING OF MEDICATIONS:
         Patients on TID, QID or more frequent medications will be given a card to come to
         the Medical Unit/ Exam Room at a specified time for additional dose(s).
         If the patient is on once-a-day (QD) medications, this can be given at the Morning
         (AM) or Hour of sleep (HS) medication pass but must be the same each day.
   MISCELLANEOUS
        Tums should not be given off the cart unless the patient has been evaluated by health
         services.
        Aspirin should never be given in conjunction with NSAID unless ordered by
         provider.
        Motrin or other NSAID may be started on patients who book-in claiming pain for
         arthritis, chronic or acute pain syndromes without verification until reviewed by the
         provider with the exception of patients with chronic renal failure. Dosage of Motrin
         should be 800 mg PO Twice per day (BID).
        Nonsteroidal anti-inflammatory No patient should be on more than one NSAID.
         *Do not give NSAIDS if patient is on anticoagulant medications. *
         No special shampoos will be                                           order or as per
         protocol.


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                              MEDICATION GUIDELINES



       IM Vistaril must be given with a 2" needle and Z-track method.
       IM Benadryl must be given deep, IM in a large muscle.
       Any questions regarding total dosages or times Notify the provider
       Patients verified on Sublingual Nitroglycerin are to be given three NTG SL 0.4mg
       tablets in a labeled brown envelope provided for Keep on Person (KOP) purposes.
       The patient is to use for chest pain and is to present to the nurse station for
       assessment and/or refill as necessary.
   CRACKERS
       Patients on the following medications should be given crackers upon request:
       NSAIDS
       Anti-virals
       Antibiotics
       Prenatal vitamins
       Provider order




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                            MEDICATION VERIFICATION
   Patients arriving to the Denver Detention Facility claiming to be on medications must
   have these medications verified and begun to the best of our ability.

   When as part of the book-in screening process at the jails, an inmate claims to be on
   medications, the nurse will obtain the following information: the name of the medication,
   the diagnosis for which it was prescribed, the dosage and times of administration, the
   prescribing physician or clinic and the pharmacy where it was last obtained.

   The Book-in nursing staff will attempt to confirm all medications by calling the
   pharmacy where the medications were last claimed to have been filled. Note that some
   pharmacies (ie University Hospital, Stout Street Clinic, Kaiser and the VA Hospital)
   require a faxed Release of Information (ROI) form to be sent to them in order to release
   current medications. These facilities fax the medications to back to us. For these
   facilities, use the standard ROI form, with the following guidelines:

   1. the Attn: box should read
   2. check only the box marked Medication Report
   3. the entire top part must be filled in with date, patient information, and facility the form
      is being sent to.
   4. the patient must sign and date the form.

   If medications cannot be verified initially and the situation warrants immediate
   intervention, the nurse will call the physician on-call for orders.

   All medication verifications are to be done at the time of book-in. Either the claimed
   pharmacy is to be called or the ROI is to be completed and faxed to the claimed
   pharmacy.

   The ROI form return fax and phone numbers are to the Detention Facility Infirmary. The
   Infirmary Charge Nurse receiving the faxed medication information is to have these
   orders transcribed to the pa

   Once medications are verified as current via telephone or fax, the Record of Verification
   form must be completed for each patient. The top of this form is used to document
   claimed meds and claimed facility. The bottom of this form is to document meds as

                                These forms, once completed, are to be included in the




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                           MEDICATION VERIFICATION
   Tracking: The Tdrive will include a folder for faxed medication verification tracking, so
   that we are able to keep track of these patients. All patients having medications to be
   verified (via fax, after normal business hours, etc) must be recorded on the Tdrive folder
                                     Charge Nurse will monitor and check off these faxed
   returns.

   After Hours: For after hours patients requiring telephone medication verification, the
   Record of Verification form is to be filled out by the book-in nurse and placed in the
   After Hours Medication Verification folder. This folder is to be taken to the Infirmary
   Charge Nurse at the end of every night shift.
   After hours faxed Medication Verifications are to be completed as usual faxed and
   recorded on the Tdrive for Charge Nurse confirmation.


   Definition of Current Medications:

           Medical: medications with existing refills are considered to be current.

                     chronic medications verified as prescribed within 6 months are
                     considered to be current with the exception of HIV medications.

                     HIV: HIV medications are given only if the prescription is verified to
                     be up to date and the patient states he is compliant with the medications.
                     If the prescription is out of date, or the patient claims noncompliance,
                     the HIV physician will determine whether or not to continue the
                     medications. Do not forget to add all HIV patient names to the HIV log
                     kept in the nurse stations.

           Psychiatric please refer to the Protocol, Chronic Psychiatric Medications for
           specific medication guidelines.




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                        PATIENTS OVER 65 YEARS OF AGE
VITAL SIGNS MUST BE TAKEN ON THESE PATIENTS UPON BOOK-IN. Patients who are over 65 years
of age will have vital signs taken, be checked for orientation to person, place and time and be
assessed for mobility status. If there are any medical concerns or chronic disease issues that need
assessment, the patient will be placed on the MD line for an assessment of general health, medical
needs and any physical limitations (i.e., decreased mobility). If the patient has had an assessment
within the previous 6 mont
medications, stable vitals signs and no complaints, provider reassessment are not needed.

INFLUENZA VACCINE
nursing staff as part of the book in process should inquire as to whether the patient has had an
influenza vaccine. If not, this should be offered.

FUTURE FOLLOW-UP         Will be based upon any chronic diseases that these patients may have.

SPECIAL CIRCUMSTANCES
      Dementia if the patient appears demented, the chart should be forwarded as soon as
      possible after book-in to the Medical Director for review and determination if special
      arrangements need to be made for the time of release.




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                                         UNRESPONSIVE


   IF PATIENT IS UNRESPONSIVE WITH NO PULSE OR RESPIRATION , BEGIN CPR. HAVE THE
   OFFICER CALL 911 TO REQUEST AN EMERGENCY (CODE 10) AMBULANCE. NOTIFY
   THE PROVIDER ON CALL.

   If patient is found unresponsive and has a pulse, respiration and blood pressure:

           Bring to the Medical Unit Treatment Room at the Denver County Jail or Denver
           Detention Center.

           Administer O2 via nasal cannula at 2 liters/minute.

           Start IV with Normal Saline.

           Administer 1 AMP D50 IV push.

           Administer Narcan 2 doses via nasal inhalant.

           Call for an emergency ambulance if no response to D50 and Narcan.

           Call Provider.

   IF UNRESPONSIVENESS APPEARS TO BE SECONDARY TO TRAUMA (I.E., FALL FROM TIER),

          DO NOT MOVE, CALL 911 AND NOTIFY THE PROVIDER.

           Maintain C-Spine apply C-Collar




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